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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                              Norfolk Division


   BIEDERMANN TECHNOLOGIES
   GmbH & CO. KG,

                    Plaintiff,

   v.                                                   Case No. 2:18cv585

   K2M, INC. and K2M GROUP
   HOLDINGS, INC.,

                    Defendants.


                               OPINION AND ORDER

        This matter is before the Court on cross-motions for summary

   judgment in the above referenced patent case. 1            After careful

   consideration of the briefs submitted by the parties, the Court

   GRANTS IN PART and DENIES IN PART each party’s motion seeking

   summary judgment.

                            I. PROCEDURAL HISTORY

        At issue in this case are multiple related patents held by

   plaintiff Biedermann Technologies GmbH & Co. KG, (“Biedermann” or

   “Plaintiff”): U.S. Patent No. 9,814,595 (“the ’595 patent”), U.S.

   Patent   No.   10,130,485   (“the   ’485   patent”),   U.S.   Patent   No.

   6,736,820 (“the ’820 patent”), U.S. Patent No. 8,945,194 (“the

   ’194 patent”), U.S. Patent No. 9,566,093 (“the ’093 patent”), U.S.



   1 Several other motions are currently outstanding and will be addressed by
   separate order.
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   Patent No. 8,123,784 (“the ’784 patent”), U.S. Patent No. 8,828,060

   (“the ’060 patent”), U.S. Patent No. 9,895,173 (“the ’173 patent”),

   U.S. Patent No. 10,058,353 (“the ’353 patent”),                 U.S. Patent No.

   9,572,600 (“the ’600 patent”), U.S. Patent No. 9,597,121 (“the

   ’121 Patent”), and U.S. Patent No. 8,257,399 (“the ’399 Patent”).

   All of the patents-in-suit relate to medical devices intended

   primarily   for   use    in   spinal    surgery.        This   Court   previously

   conducted a Markman hearing and issued an order construing eighteen

   disputed claim terms found in Biedermann’s patents associated with

   the following medical devices: (1) “multi-walled placeholders”

   used   to   replace     vertebrae      or       vertebral   discs   (among   other

   applications); (2) “bone screws,” also referred to as “pedicle

   screws,” designed to pivot in at least one direction by an enlarged

   angle; (3) an “anchoring element” attached to a bone screw designed

   to connect to one or more “rods,” some of which utilize a “square

   thread” screw to secure the rod(s); and (4) a bone anchoring device

   utilizing a moveable “pressure member.”

          Biedermann’s patent infringement lawsuit against K2M, Inc.

   and K2M Group Holdings, Inc. (collectively, “K2M” or “Defendants”)

   was filed in this Court on November 2, 2018, and Biedermann served

   the original complaint on November 6, 2018.                    Three days after

   service, while this case was still in its infancy, K2M was acquired

   by Stryker Corporation (“Stryker”), a competitor of Biedermann in

   the spinal implant/device industry.                   As revealed through the

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   parties’ briefs and exhibits, Stryker and Biedermann have competed

   in such industry for many years and have been involved in prior

   litigation regarding patent rights. In fact, such prior litigation

   led to a still-in-force patent license agreement that includes a

   provision expressly barring Stryker from taking any steps to

   invalidate or otherwise challenge the validity or enforceability

   of certain specified Biedermann patents, to include the ’820

   patent.   See ECF No. 314-1.    The scope and effect of such agreement

   presents a key dispute on summary judgment.

                           II. STANDARD OF REVIEW

        Federal Rule of Civil Procedure 56(a) provides that a district

   court shall grant summary judgment in favor of a movant if such

   party “shows that there is no genuine dispute as to any material

   fact and the movant is entitled to judgment as a matter of law.”

   Fed. R. Civ. P. 56(a).     The mere existence of some alleged factual

   dispute between the parties “will not defeat an otherwise properly

   supported motion for summary judgment; the requirement is that

   there be no genuine issue of material fact.”         Anderson v. Liberty

   Lobby Inc., 477 U.S. 242, 247–48 (1986).         “A genuine question of

   material fact exists where, after reviewing the record as a whole,

   a court finds that a reasonable jury could return a verdict for

   the nonmoving party.”     Dulaney v. Packaging Corp. of Am., 673 F.3d

   323, 330 (4th Cir. 2012).



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         Although the initial burden on summary judgment falls on the

   moving     party,      once     a   movant        properly         files     evidence

   supporting summary judgment, the non-moving party may not rest

   upon the mere allegations of the pleadings, but instead must set

   forth specific facts in the form of exhibits and sworn statements

   illustrating a genuine issue for trial.             Celotex Corp. v. Catrett,

   477    U.S.     317,     322–24     (1986).             “Because        ‘credibility

   determinations, the weighing of the evidence, and the drawing of

   legitimate inferences from the facts are jury functions, not those

   of a judge,’” the Court must only evaluate the evidence to the

   extent   necessary      to    determine       whether    there     is     “sufficient

   disagreement to require submission to a jury or whether [the

   evidence] is so one-sided that one party must prevail as a matter

   of law.”      McAirlaids, Inc. v. Kimberly-Clark Corp., 756 F.3d 307,

   310 (4th Cir. 2014) (quoting Anderson, 477 U.S. at 251–52, 255).

   In making its determination, “the district court must ‘view the

   evidence in the light most favorable to the’ nonmoving party.”

   Jacobs v. N.C. Admin. Off. of the Courts, 780 F.3d 562, 568 (4th

   Cir. 2015) (quoting Tolan v. Cotton, 572 U.S. 650, 657 (2014)).

         When faced with cross-motions for summary judgment, each

   motion   must    be    considered   “separately         on   its    own    merits   to

   determine whether either of the parties deserves judgment as a

   matter of law,” and “all factual disputes and any competing,

   rational inferences” must be resolved “in the light most favorable

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   to the party opposing that motion.”                  Defenders of Wildlife v. N.C.

   Dep’t of Transp., 762 F.3d 374, 392 (4th Cir. 2014)) (internal

   quotation marks omitted).

                            III. K2M’S SUMMARY JUDGMENT MOTION

          K2M seeks summary judgment on four grounds: (1) K2M’s spinal

   implants/placeholders do not directly infringe on Biedermann’s

   ’595        and    ’485     patents;     (2)       Biedermann     cannot     establish

   infringement of the ’595 and ’485 patents under the doctrine of

   equivalents; (3) Biedermann’s licensees’ “failure to mark” their

   products          with    Biedermann    patent       numbers     precludes      pre-suit

   infringement damages as to multiple patents; and (4) Biedermann’s

   “willful infringement” claim fails for lack of evidence.

          A.    Spinal Implants - Literal Infringement ’595 and ’485

          K2M’s summary judgment motion first asserts that Biedermann’s

   ’595 and ’485 “placeholder patents” are only infringed by a “multi-

   walled”       placeholder,      and    that       based   on   this   Court’s   Markman

   construction of the term “wall,” as well as other related claim

   terms (most notably, “connectors”), no reasonable juror could

   conclude that K2M’s products literally infringe on Biedermann’s

   placeholder patents.           For the reasons set forth below, Defendants’

   motion is DENIED as to literal infringement, notwithstanding the

   Court’s viewpoint that K2M offers compelling arguments on this

   issue.       Stated another way, while this Court has a clear picture

   as to how it would rule were it permitted to “weigh” the competing

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   evidence, the decision on how to define the line between two

   structural walls with connectors, and a single thick wall with

   various internal openings, appears to require judgment calls that

   cannot be made without weighing the evidence, meaning that the law

   permits only the factfinder to resolve this dispute.                The Court is

   compelled to make such finding in light of the dueling expert

   opinions, notwithstanding Defendants’ strong evidentiary showing

   that their device is not a “multi-walled” placeholder with at least

   one connecting portion, as required by the relevant Biedermann

   patents.

         This      Court’s   Markman   Opinion    interpreted    the    claim   term

   “wall”     as    “necessarily    refer[ring]     to   a     three   dimensional

   structure with a ‘thickness’ and not merely a ‘wall surface.’”

   ECF No. 265, at 11.        The Court’s analysis noted that Biedermann’s

   patents use terms such as “wall surface” or “jacket surface” when

   discussing a mere surface of a placeholder wall (rather than the

   structural wall itself), and that equating the term “wall” with a

   “wall surface” would be inconsistent in the context of the patents

   at issue, a context that Biedermann is itself responsible for

   creating. Id. at 13-15. Notably, while certainly not controlling,

   the titles of the patents at issue are “multi-walled placeholder,”

   and   the       “background”    sections      acknowledge     the    fact    that

   “placeholders, especially for vertebrae or vertebral discs are

   known,” in the art, to include placeholders that have “a scaffold-

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   like structure in which the latticework extends over the full body

   or through the entire body of the implant.”        ’485 1:20-45, ECF No.

   14-15.   Biedermann’s patents explain that such lattice design is

   purportedly “difficult to manufacture” and has to “be adjusted and

   manufactured individually to suit every application case,” with

   Biedermann’s     invention    seeking    to    provide    both   ease    of

   manufacturing and versatility in application by utilizing multi-

   walled placeholders, often consisting of multiple “tubular bodies”

   that are inserted inside each other and connected with various

   forms of “connectors” to space apart the multiple walls.            Id. at

   1:20-2:18.    While it is the patent claims themselves, and not the

   “background,” that controls, the relevant claims similarly require

   at last two structural walls (inner and outer) and at least one

   connecting portion.

        Biedermann’s position on summary judgement contends that a

   “multi-walled placeholder” with “connectors” that space the two or

   more walls apart can be constructed through 3D printing even if

   the placeholder appears at first blush to constitute a structure

   with a single “thick” wall. 2         When examining K2M’s “Cascadia”

   placeholder products, Biedermann’s expert contends that the “first

   wall” required by Biedermann’s patents begins at the outer surface


   2 Advancements in manufacturing technology (3D printing) may result in
   “latticework” placeholders no longer being “difficult to manufacture” and
   may eliminate the concerns associated with adjustments or individual
   manufacturing to suit specific needs, which may reduce the need for a type
   of “modular system” involving multiple walls fixed together with connectors.

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   of the placeholder’s wall and extends up through a first row of

   vertical holes, and the required “second wall” begins at the inner

   surface of the placeholder and extends up to a defined point (which

   similarly appears to be a row of vertical holes).             See, e.g., ECF

   No. 369-3, at 31-34.        Much, if not all, of the areas in between

   these at least two walls are identified by Biedermann’s expert as

   “connectors.”       Id.   Although Biedermann’s expert conceded during

   his deposition that he was “not sure” whether a person skilled in

   the art would view K2M’s Cascadia devices as “multi-walled” unless

   he or she first read Biedermann’s patents, ECF No. 299-1, at 231,

   such equivocal concession goes to the weight of Biedermann’s

   evidence, rather than wholly undercutting Biedermann’s expert’s

   opinion.

        On the other side of the equation, K2M’s expert makes a strong

   showing that the purportedly infringing Cascadia devices are not

   “multi-walled” placeholders, further contending that Biedermann’s

   expert has arbitrarily identified two walls with connectors merely

   because it is necessary to prove literal infringement.                  K2M’s

   expert acknowledges, however, that the line between a multi-walled

   structure    with    openings   in   between   the   walls,   and   a   porous

   structure that would not be considered “multi-walled” is not

   clear. 3   ECF No. 369-5, at 179-81.


   3To illustrate the Court’s understanding of the parties’ dispute, it appears
   that when enough material susceptible to being identified as a “connector”
   is added between two structures susceptible to being identified as separate

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        Having   carefully    reviewed       the   evidence   provided   by   both

   parties, the Court has limited sympathy for Plaintiff’s position

   on this issue, and in the Court’s view, the proper resolution of

   this issue after weighing the evidence appears clear.                 However,

   the summary judgment standard precludes this Court from weighing

   the evidence, and the evidence offered by Plaintiff’s expert is

   just enough in this Court’s view to nudge this issue from being

   “so one-sided” that K2M must prevail as a matter of law, to an

   issue that must be decided by the jury.               Notably, as recently

   reiterated by the Fourth Circuit:

        [S]ummary judgment cannot be granted merely because the
        court believes that the movant will prevail if the action
        is tried on the merits. [Rather,] [t]he court may grant
        summary judgment only if it concludes that the evidence
        could not permit a reasonable jury to return a favorable
        verdict.   Therefore, courts must . . . refrain from
        weighing    the   evidence    or    making    credibility
        determinations. A court improperly weighs the evidence
        if it fails to credit evidence that contradicts its
        factual conclusions or fails to draw reasonable
        inferences in the light most favorable to the nonmoving
        party.

   Sedar v. Reston Town Ctr. Prop., LLC, 988 F.3d 756, 761 (4th Cir.

   2021) (emphasis added) (internal quotation marks and citations

   omitted).

        This Court’s finding that material disputed facts exist,

   supported by evidence on both sides, is not predicated on the



   walls, the device may lose its character as a “multi-walled” device with
   connectors, and becomes a single “thick” walled device, or a scaffold-like
   or porous device with internal openings.

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   manufacturing       method         used    by    K2M     to     produce      the     allegedly

   infringing        placeholders            (3D        printing),       as     K2M’s        expert

   acknowledges that a 3D printer can be used to create a “multi-

   walled”    placeholder        with        “sintered”        connectors,      to     include    a

   placeholder       consistent         with       the     exemplary         illustrations       in

   Biedermann’s       patents.           ECF       No.     369-5,       at    160-61,    172-73.

   However, the converse conclusion is likewise true−just because one

   can create an infringing multi-walled placeholder with sintered

   connectors using a 3D printer does not mean that a thick-walled

   placeholder manufactured using a 3D printer (such as one with a

   scaffold-like      or   lattice-like            structure          extending    through     the

   entire    body    of    the    placeholder)            is     in    fact    “multi-walled.”

   Notably, Biedermann’s patent covers “multi-walled” placeholders

   with “connectors” that separate at least a first wall from a second

   wall, and Biedermann must ultimately prove that the individual

   components required by Biedermann’s patents are present in K2M’s

   Cascadia    devices.          While       convincing        a      factfinder      that   K2M’s

   products are in fact “multi-walled” appears to be an uphill battle,

   the Court cannot conclude on this record that no reasonable juror

   could     adopt     Biedermann’s            expert’s        viewpoint        and     find     in

   Biedermann’s       favor      on    this     issue.           Accordingly,        Defendants’

   summary judgment motion on this issue is DENIED as to literal

   infringement.



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           B. Spinal Implants - DOE Infringement ’595 and ’485

         Biedermann’s          contentions       in       this      patent          infringement

   litigation have primarily been limited to literal infringement,

   with Biedermann apparently informing K2M early in the litigation

   that it was not proceeding under an infringement theory under the

   doctrine of equivalents (“DOE”). 4                  A DOE theory asserting that

   there are “insubstantial differences” between a patent-in-suit and

   an   allegedly         infringing    device      can     in    some    circumstances       be

   defeated     by    the     alleged     infringer         (even        if    a    jury   finds

   equivalence)       through      demonstrating            that        such   patent      would

   “encompass        or     ‘ensnare’    the        prior        art”    if    the     patent’s

   applicability to equivalents is stretched as far as the plaintiff

   asserts.     G. David Jang, M.D. v. Bos. Sci. Corp., 872 F.3d 1275,

   1285 (Fed. Cir. 2017).              Such a defense, of course, can only be

   advanced if the alleged infringer has the opportunity to research

   and evaluate the relevant prior art in order to mount a defense to

   the DOE claim.

         Here, Biedermann waited until late in the discovery period to

   change course and inform K2M that it was pursuing numerous new DOE

   theories of infringement.             Whether Biedermann waited too long to

   notify K2M has already been litigated in this case.                             Specifically,



   4 Biedermann first announced its DOE claims less than a month before the
   close of discovery and over seven months after Biedermann purportedly
   assured K2M that it did not intend to rely on the doctrine of equivalents
   in this case. ECF No. 209, at 2.

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   K2M filed a motion to strike Biedermann’s tardily asserted DOE

   theories, ECF No. 163, the matter was briefed, and a telephonic

   hearing was conducted by United States Magistrate Judge Douglas

   Miller, ECF No. 206.          Near the conclusion of the telephonic

   hearing, Judge Miller indicated that he was “concerned about the

   timing of the disclosure, but if it’s been fully vetted by both

   experts, [he was] not inclined to strike it.”        ECF No. 207, at 62.

   Judge Miller therefore instructed the parties to submit copies of

   their “expert opinions on DOE, both the original opinion that was

   offered by [Plaintiff’s] expert . . . and whatever [Defendants’]

   expert said in response to that DOE position.”        Id.   K2M’s attorney

   responded by further voicing his concern about the prejudice that

   K2M will suffer because of Biedermann’s late disclosure, and Judge

   Miller repeated that he wanted “to see what [Defendants’] expert

   has said in response to [Plaintiff’s] DOE contentions” as such

   information would help the Court formulate its understanding of

   the issue.    Id. at 63-64.

         After receiving and reviewing the parties’ submissions, Judge

   Miller issued a written Order denying K2M’s motion to strike the

   newly advanced DOE assertions.           ECF No. 209, at 5-6.     In such

   Order, Judge Miller indicated that he did “not find prejudice

   sufficient to exclude the late claims.” Id. at 6 (emphasis added).

   Judge Miller noted that Plaintiff’s DOE contentions “were asserted

   prior to opening expert reports,” that they “affect only a few

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   claims,” and that “K2M’s opposition expert has already identified

   and addressed the limited evidence relied upon in the opening

   expert reports to support the new theories and thoroughly responded

   to them.” 5    Id. (emphasis added).

         Notwithstanding such ruling, in the pending summary judgment

   briefs, the parties continue to dispute whether Biedermann timely

   advanced    DOE     claims   associated    with   the   placeholder   patents.

   Biedermann appears to contend that it has properly advanced a DOE

   theory as to all relevant terms of the placeholder patents, whereas

   K2M contends that no DOE claims associated with the placeholder

   patents were raised in Biedermann’s opening expert reports, or

   responded to in K2M’s rebuttal report, other than a DOE argument

   involving     the   “diamond-shaped   opening”      limitation   required   by

   Claim 14 of the ’485 patent.          Because Judge Miller’s ruling was

   not made on a patent by patent basis, the parties’ summary judgment

   dispute require this Court to reassess whether the DOE claims

   associated with the placeholder patent are properly before the

   Court.

         While the primary focus of the “prejudice” re-evaluation of

   this dispute should be on whether Plaintiff’s opening expert report

   put K2M’s expert on notice of Biedermann’s new DOE theories (and

   not whether K2M’s expert fully responded to such new claims), it


   5 Plaintiff’s counsel submitted copies of the relevant expert reports to
   Judge Miller with a cover letter that expressly identifies the pages of the
   expert report that purportedly address DOE claims.

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   is clear that K2M’s expert reasonably interpreted Plaintiff’s

   Cascadia DOE claim as being limited to the “diamond-shaped” opening

   issue, as he expressly stated in the relevant section of the

   responsive report that no other DOE claim was being made by

   Biedermann with respect to the ’485 patent.         Cf. 303-1 ¶¶ 82, 87,

   92, 117 (highlighting the absence of DOE claims on a term-by-term

   basis as to the ’595 patent). 6        Such interpretation is textually

   sound, as the relevant section of Biedermann’s opening expert

   report: (1) begins by suggesting that the section that follows is

   a literal infringement analysis; and (2) applies K2M’s proposed

   claim     construction   as   to    multiple   patent   terms,   but    only

   references achieving “substantially the same function . . . in

   substantially the same way” (which is a DOE theory) as to the

   diamond-shaped opening requirement.         ECF No. 369-3, at 57-58.      No

   other   expert   analysis     in   Biedermann’s   opening   expert     report

   suggests that Biedermann is pursuing a DOE claim associated with

   the placeholder patents, with the arguable exception of a broadly

   phrased    conclusion    shortly    after   the   diamond-shaped     opening



   6The ECF document cited above is only an excerpt from K2M’s expert’s report,
   with the cited paragraphs addressing the ’595 patent, not the ’485 patent.
   However, the complete report was submitted to Judge Miller so that he could
   evaluate K2M’s claimed prejudice, and the complete K2M report expressly
   states at paragraph 182: “With the exception of the ‘diamond-shaped’
   limitation, [Biedermann’s expert] does not argue that any claimed element
   of claim 14 [of the ’485 patent] is present in Cascadia under the doctrine
   of equivalents if literal infringement is not found.” Biedermann’s expert’s
   reply report does not directly dispute such characterization of Biedermann’s
   opening report and appears to respond in support of a DOE claim only as to
   the “diamond-shaped” opening limitation. ECF No. 369-3, at 122.

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   analysis that states: “Therefore, even under K2M’s construction of

   the disputed claim terms, K2M’s CASCADIA Device contains each and

   every element of Claim 14 of the ’485 Patent under the doctrine of

   equivalents.”     Id. at 58 (emphasis added).     Such broad conclusion,

   however, in not preceded by any supporting DOE analysis outside of

   the diamond-shaped opening requirement.        Moreover, as noted herein

   in footnote 6, after K2M’s expert limited his DOE response to the

   “diamond-shaped” opening issue and expressly stated that no other

   DOE   claims    were   being   advanced   by   Biedermann,   Biedermann’s

   expert’s reply did not outline any additional DOE claims as to the

   ’485 patent.     Id. at 122.

         It was against this backdrop, that Judge Miller noted both

   that there were “only a few” DOE claims across all of the patents-

   in-suit and that “K2M’s opposition expert has already identified

   and addressed the limited evidence relied upon in the opening

   expert reports to support the new theories and thoroughly responded

   to them.”      ECF No. 209, at 6 (emphasis added).      Accordingly, the

   Court finds that: (1) to the extent that Biedermann now seeks to

   advance a DOE claim with respect to the ’485 patent other than the

   “diamond-shaped” opening requirement, such claims were not the

   claims that Judge Miller concluded survived K2M’s motion to strike;

   and (2) because such claims were not stated with any reasonable

   clarity in Biedermann’s opening expert reports, nor were they

   mentioned in Biedermann’s reply report, and because such claims

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   were raised very late in discovery after Biedermann had previously

   indicated that it was not pursuing DOE claims, the factors outlined

   in Southern States Rack & Fixture, Inc. v. Sherwin-Williams Co.,

   318 F.3d 592, 595-97 (4th Cir. 2003) support K2M’s position on

   this issue.    Because K2M has demonstrated the prejudice alluded to

   by Judge Miller with respect to unarticulated DOE claims, which

   were    neither   effectively    raised    by   Biedermann’s    expert    or

   “thoroughly” responded to by K2M’s expert, Biedermann may not rely

   on such tardy claims, and consistent with Judge Miller’s comments,

   such claims are appropriately struck as a discovery sanction

   pursuant to Rule 37(c). 7

          As to the ’595 patent, this Court easily concludes that the

   tardy DOE claims that were raised by Biedermann’s expert for the

   first time in a “reply report” (such as a discussion about the

   scope of the term “wall” as claimed in ’595 Claim 1, ECF No. 369-

   3, at 112-13) were also not the claims that Judge Miller concluded

   survived K2M’s motion to strike. 8        Similarly, to the extent that


   7 A review of the prior litigation of this same issue, as well as a review
   of the current filings, does not suggest that the late timing of such
   disclosure was substantially justified or that such late disclosure was
   harmless. Southern States, 318 F.3d at 596. To the contrary, Biedermann
   plainly should have raised its DOE theories in its opening expert report.
   8 Biedermann’s amended interrogatory responses, dated December 22, 2019,
   expressly state that K2M’s construction of the word “wall” purportedly
   results in infringement of fourteen different claims of the ’485 and ’595
   patents under the doctrine of equivalents.        ECF No. 298-2, at 12-13.
   However, Biedermann’s subsequent expert report, the report on which Judge
   Miller relied to determine whether K2M was “prejudiced” by Biedermann’s late
   disclosure of this theory of infringement, did not mention the doctrine of
   equivalents with respect to the ’595 patent, and as discussed above, analyzed

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   Biedermann now argues that it was appropriate for its expert to

   supplement these “reply report” arguments after this Court issued

   its Markman ruling construing the term “wall,” the Court finds

   that the nature of the Markman ruling in this case does not breathe

   life into tardy DOE claims for the ’595 patent that were not raised

   by Plaintiff’s expert until a reply report.          Notably, Plaintiff’s

   expert acknowledges that the Court’s construction of “wall” was

   largely consistent with the analysis in his opening report and

   does not change his opinions about literal infringement.            ECF No.

   369-3, at 4-7. Moreover, Plaintiff’s expert already analyzed K2M’s

   proposed construction of “wall” in his opening report and did not

   assert a DOE claim as to such claim term.       The Court’s construction

   of “wall” was similar to K2M’s construction, but did not include

   an unnecessary requirement about the number of surfaces, a position

   that appears largely consistent with Plaintiff’s expert’s comments

   in his reports predating this Court’s Markman ruling. Accordingly,

   there is no apparent basis to suggest that the Court’s Markman

   construction “prompted” a previously unadvanced DOE theory.




   such alternative theory of infringement only with respect to the “diamond-
   shaped opening” requirement of Claim 14 of the ’485 patent. Accordingly,
   as with various other discovery disputes in this case that were characterized
   by Judge Miller as ongoing “gamesmanship,” this issue appears to be an
   example of the perils of such approach, and Biedermann will not be permitted
   to rely on late disclosures raised for the first time in a reply expert
   report or supplement to the reply-the prejudice to K2M is obvious as to any
   reply/supplement DOE claims. See Southern States, 318 F.3d at 595-97.

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         Accordingly, the Court GRANTS summary judgment to K2M to the

   extent it asserts that there are no validly advanced DOE claims

   with respect to the ’485 and ’595 patents, with the exception of

   the “diamond-shaped opening” requirement of Claim 14 of the ’485

   patent.     The Court notes that the late timing of Biedermann’s DOE

   claims, made on December 22, 2019, is arguably consistent with the

   gamesmanship engaged in by both parties in this case, with nothing

   suggesting that the timing of Biedermann’s disclosures were due to

   an unintentional oversight or “mistake.”

                               C. Marking - Damages

         K2M seeks summary judgment on the issue of pre-suit damages,

   arguing that Biedermann has failed to produce evidence showing

   that multiple products sold by Biedermann or its licensees were

   “marked” with relevant Biedermann patents in order to put K2M on

   “notice” of the patented technology.        The parties do not dispute

   the applicable legal standard: “Pursuant to 35 U.S.C. § 287(a), a

   patentee who makes or sells a patented article must mark his

   articles or notify infringers of his patent in order to recover

   [pre-suit] damages.”      Arctic Cat Inc. v. Bombardier Recreational

   Prod. Inc., 876 F.3d 1350, 1365 (Fed. Cir. 2017).         If the patentee

   does not mark or notify the alleged infringer prior to filing suit,

   no damages can be recovered for pre-suit sales of the infringing

   products.    Id. at 1366.    Because § 287 is “a limitation on damages,

   and not an affirmative defense,” it is the patentee that “bears

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   the   burden   of   pleading   and    proving       [that    it]   complied      with

   § 287(a)’s marking requirement.”            Id.    A patent holder’s licensees

   “must   also   comply   with   §   287”;     however,       because   “it    may    be

   difficult for a patentee to ensure his licensees’ compliance with

   the marking provisions,” a patent holder may prevail if it can

   establish that it “made reasonable efforts to ensure [a third

   party’s] compliance with the marking requirements.”                        Id.     The

   Federal Circuit has expressly held that the marking statute “serves

   three    related     purposes:       (1)     helping     to     avoid       innocent

   infringement; (2) encouraging patentees to give public notice that

   the article is patented; and (3) aiding the public to identify

   whether an article is patented.”             Id.    While patent infringement

   “is a strict liability tort,” a patentee that “permits the sale of

   unmarked, patented articles misleads others into believing they

   are free to make and sell an article actually covered by patent.”

   Id. (emphasis added).

         When applying the marking statute in the context of patent

   litigation,    district    courts      were        previously      split    on     the

   litigants’ respective burdens.         Id. at 1367.           However, in Arctic

   Cat, the Federal Circuit established that the alleged infringer,

   here K2M, must only “articulate the products it believes are

   unmarked ‘patented articles,’” and that it is then the patent

   holder’s “burden to prove the products identified do not practice

   the patented invention.”         Id. at 1368.         K2M’s initial burden is

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   therefore a “burden of production, not one of persuasion or proof,”

   and such burden of production has been expressly described by the

   Federal Circuit as a “low bar” that is in place only to put “the

   patentee on notice” and limit the “universe of products for which

   it would have to establish compliance” in order to avoid a “large

   scale fishing expedition and gamesmanship.”             Id.

         Turning to the pending allegations on summary judgment, both

   parties have made concessions and/or withdrawn arguments in their

   respective summary judgment responsive and reply briefs.              First,

   Biedermann narrowed the dispute regarding the patents at issue as

   it: (1) “does not challenge K2M’s marking contention for the ’093

   patent”; and (2) indicates that “K2M’s marking arguments are moot

   for the ’194, ’060, and ’173 patents, which Biedermann has already

   agreed not to pursue as part of its case narrowing.”           ECF No. 368,

   at   21   n.7   (emphasis   added).        Biedermann   indicates   that   the

   outstanding marking disputes involve the ’784 “undercut” patent,

   the ’399 “two lines of contact” patent, and the ’820 “favored

   angle” patent.

         Second, K2M expressly narrowed its summary judgment motion in

   its reply brief to the ’093 favored angle patent that Biedermann

   concedes was not marked, the ’784 undercut patent, and the ’399

   two lines of contact patent.          ECF No. 383, at 7-8.          K2M also

   narrows its motion in that it: (1) no longer pursues summary

   judgment as to failure to mark the “MOSS VRS” product; (2) limits

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   its summary judgment motion as to the failure to mark the “MOSS

   100” product to only the ’784 patent; and (3) limits the list of

   DePuy products that purportedly practice the ’784 patent to the

   “Summit, Expedium, and Mountaineer” screws.                  Id. at 7-8, 11.      This

   Court      accepts     such   limitations/narrowing           and   addresses      the

   outstanding issues below.

                           1. ’093 “Favored Angle” Patent

         As to the conceded ’093 patent, K2M’s summary judgment motion

   is GRANTED with respect to K2M’s contention that “DePuy’s Expedium,

   Viper, Summit and Mountaineer screws were not marked for the . . .

   ’093 favored angled patent[].”            ECF No. 297, at 23; see ECF No.

   368   at    21   n.1   (“Biedermann     does   not    challenge     K2M’s    marking

   contentions for the ’093 patent.”).

                             2. ’784 “Undercut” Patent

               a. Mountaineer, Summit & Expedium Screws (DePuy)

         K2M’s opening summary judgment brief asserts that Biedermann

   licensed multiple patents to DePuy, and that DePuy failed to mark

   multiple products with, among other patents, the ’784 “undercut”

   patent.     ECF No. 297, Statement of Undisputed Facts (“SUF”) ¶¶ 18-

   25.     Biedermann offers various objections to portions of K2M’s

   allegations, advances broad challenges to the timeliness of K2M’s

   arguments,       and   otherwise     challenges      K2M’s    factual   statements

   without      offering     any      counter-evidence      suggesting        that    the

   Mountaineer,      Summit,     or    Expedium   screws    either:     (1)    did    not

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   practice the ’784 patent; (2) were not sold in the United States

   between 2014 and 2018 (prior to the filing of this lawsuit); or

   (3) were in fact properly marked with the ’784 patent.             ECF No.

   368, Statement of Material Facts (“SMF”) ¶¶ 18-25.         Similarly, the

   argument section of Biedermann’s opposition brief fails to advance

   such arguments, instead offering no response whatsoever to K2M’s

   claim that it is entitled to summary judgment as to the failure to

   mark these three products with the ’784 patent.          Because K2M has

   carried its limited burden of production under Arctic Cat, and

   because Biedermann has failed to highlight evidence on which a

   reasonable juror could conclude that such products did not practice

   the relevant patents, were not sold in the United States between

   2014-2018, or were marked with the relevant patents (or were not

   marked by licensees in contravention of Biedermann’s “reasonable

   efforts” to ensure marking), summary judgment is GRANTED to K2M as

   to this marking claim.

                       b. MOSS 100 (Biedermann Motech)

         K2M’s opening summary judgment brief asserts that Biedermann

   also licensed multiple patents to Motech, a related Biedermann

   entity, and that Motech’s MOSS 100 product and MOSS VRS product

   practiced, but were not marked with, one or more of Biedermann’s

   patents.    ECF No. 297, SUF ¶¶ 26-29.      As noted above, K2M’s reply

   brief withdraws its summary judgment claim as to the MOSS VRS



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   product and limits its claim as to the MOSS 100 product to failure

   to mark with the ’784 patent.       ECF No. 383, at 7-8.

         Biedermann’s     responsive     facts     squarely     challenge   the

   timeliness    of   K2M’s   Motech   claims    and   K2M’s   suggestion   that

   Biedermann is responsible for the late timing of such claims, and

   further contend that Biedermann has not had an opportunity to

   respond to such untimely contentions.          ECF No. 368, SMF ¶¶ 26-29.

   Biedermann also offers a substantive response as to whether the

   MOSS 100 and/or MOSS VRS product practiced the ’399 patent during

   the relevant time period, although such arguments are now moot in

   light of K2M’s limitation of its summary judgment claim to the

   MOSS 100 and the ’784 patent.       ECF No. 368, SMF ¶ 28; ECF No. 369-

   3, at 14.     Biedermann does not advance counter facts contending

   that the MOSS 100 product did not practice the ’784 patent during

   the relevant timeframe, nor does it adequately explain why K2M’s

   questions on this issue during the deposition of Lutz Biedermann

   (“Mr. Biedermann”) were insufficient to put Biedermann on notice

   of such marking contention no later than January of 2020.           ECF No.

   301-1, at 184-86; see ECF No. 349, at 10 (finding that a similar

   line of questioning during Mr. Biedermann’s January 22, 2020

   deposition was “sufficient to place his company and its attorneys

   on notice that K2M reasonably believed” that the products being

   discussed practiced the patents at issue). Biedermann does assert,

   however, that K2M has failed to clear the “low bar” required to

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   carry its burden of production under Arctic Cat.             ECF No. 368, at

   23.   In response, K2M highlights at least some evidence suggesting

   that Biedermann failed to timely disclose its United States license

   with Motech until after summary judgment briefing began, ECF No.

   301-1, at 191-92; ECF No. 383, at 17 (citing ECF No. 369-12; ECF

   No. 387-3, -4), and even assuming that such late disclosure was

   inadvertent, it undercuts, at least to some degree, Biedermann’s

   contention that K2M’s ’784 marking claim as to the MOSS 100 is

   untimely.

         As   previously   referenced,    it   appears   that    the   discovery

   “gamesmanship” continues between the parties in this complex case,

   with the Court discouraged by the apparent resources the parties

   have consumed pointing fingers and avoiding responses to what at

   times appear to be straightforward discovery requests.               As with

   prior discovery disputes, the aggressive procedural position taken

   by both parties during this case can at times leave one side

   exposed to a merits-based ruling for which no defense is offered.

   On this issue, Biedermann has not filed a motion to strike this

   marking claim, and the record reveals that Biedermann has both

   been on notice of such marking defense (which is associated with

   a Biedermann Motech product) for some time and may have contributed

   to K2M’s failure to fully develop this marking defense at an

   earlier time.    Biedermann’s procedural challenge advanced through

   a counter statement of facts in a summary judgment motion is

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   therefore rejected for the same reasons Judge Miller rejected

   Biedermann’s previous motion to strike similar marking defenses

   associated with Biedermann products, ECF No. 349, at 10, to include

   the fact that the deposition questions of Mr. Biedermann addressed

   specifically identified products (including the Motech MOSS 100

   and MOSS VRS) and thus was not a “large scale fishing expedition,”

   Arctic Cat, 876 F.3d at 1368, but was instead sufficiently targeted

   questioning about Biedermann products based on licenses that had

   been produced (and another that would later be produced) to K2M.

           Because K2M carried its limited burden of production under

   Arctic    Cat,   and   because   Biedermann   has   failed   to   highlight

   responsive evidence on which a reasonable juror could conclude

   that the MOSS 100 product did not practice the ’784 patent, was

   not sold in the United States during 2017 and 2018, ECF No. 297,

   SUF ¶ 27, or that it was marked with such patent, summary judgment

   is GRANTED to K2M as to this marking claim.

           3. ’399 “Two Lines of Contact” Patent - (DePuy Synapse)

           It appears to be undisputed that DePuy’s “Synapse” product

   was identified as a licensed product in a 2012 agreement between

   Biedermann and DePuy.       ECF No. 297, SUF ¶ 22; ECF No. 368, SMF

   ¶ 22.     However, K2M’s “Statement of Undisputed Facts” does not

   assert that Synapse was sold in the United States during the

   relevant period or that Synapse practiced the ’399 patent but was



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   not marked with such patent.         See ECF No. 297, SUF ¶ 25. 9        The

   argument section of K2M’s brief asserts that Synapse was not marked

   for the ’399 patent and was one of many DePuy products sold between

   2012 and 2018, but it makes no reference to Synapse practicing the

   ’399 patent. ECF No. 297, at 23. To the extent that K2M adequately

   and accurately asserts that it is “undisputed” that Synapse was

   not marked with the ’399 patent (because no relevant products were

   purportedly marked with Biedermann patents other than the ’820

   patent), K2M fails at this time to demonstrate that it timely

   satisfied the low bar of Arctic Cat through its summary judgment

   motion or earlier discovery communications, and thus has not

   triggered Biedermann’s obligation to present counter facts at the

   summary judgment stage demonstrating that Synapse was properly

   marked or did not need to be marked because it does not practice

   the ’399 patent.

         While K2M’s burden to satisfy Arctic Cat is not “a high bar,”

   K2M’s incomplete allegations do not meet such standard at the

   summary judgment stage as to Synapse.            See Pavo Sols. LLC v.

   Kingston Tech. Co., No. 8:14cv1352, 2019 WL 4390573, at *2 (C.D.

   Cal. June 26, 2019) (“While Kingston’s burden is low, and it need



   9 It appears that text in ¶ 25 of K2M’s SUF was inadvertently deleted as the
   second sentence of such paragraph is a fragment. The evidence cited at the
   conclusion of such sentence fragment appears to support a claim that Synapse
   was sold during the relevant timeframe, ECF No. 299-4, at 29-31, and includes
   technical drawings that conceivably indicate that Synapse practices the ’399
   patent, ECF No. 300-10.

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   not conclusively establish that identified products were sold or

   offered for sale in the United States, it must at least put Pavo

   ‘on notice that he or his authorized licensees sold specific

   unmarked products which the alleged infringer believes practice

   the patent.’” (quoting Arctic Cat, 876 F.3d at 1368)).                To be

   clear, the Court does not find that an expert opinion is required

   to satisfy Arctic Cat, but rather, that K2M’s opening summary

   judgment brief, which addressed a myriad of products and patents

   over the course of a limited number of paragraphs of factual

   allegations, was not sufficiently clear as to Synapse and the ’399

   patent to trigger Biedermann’s obligation to produce admissible

   counter evidence, to potentially include expert opinions or sworn

   declarations. 10

         Moreover,    even   if   K2M’s   opening   summary   judgment   brief

   satisfied the Arctic Cat standard as to Synapse, the timing of

   K2M’s filing (dated May 1, 2020), when considered in conjunction

   with the timing of Judge Miller’s related rulings (oral ruling

   issued May 6, 2020, written ruling issued May 14, 2020) and the

   timing of Biedermann’s opposition summary judgment brief (May 15,

   2020), counsels against granting K2M’s motion as a matter of law



   10K2M’s “best” evidence on this issue as presented in its opening summary
   judgment brief was its supplemental expert report concluding that Synapse
   practices the ’399 patent. ECF No 300-9. However, because Magistrate Judge
   Miller did not permit the filing of such supplemental report, it offers no
   evidentiary basis in support of K2M’s marking claim. Cf. ECF No. 383, at
   8 (acknowledging that K2M “withdraws” such exhibit).

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   because Judge Miller’s ruling at least suggested that Biedermann

   did not have an obligation to respond to K2M’s Synapse claim.              Cf.

   Freeny v. Fossil Grp., Inc., No. 2:18cv49, 2019 WL 8688587, at *3

   (E.D. Tex. July 24, 2019) (reflecting the magistrate judge’s

   recommendation that the defendant “failed to meet its initial

   burden of production to identify specific products that were

   allegedly made or sold unmarked in non-compliance with § 287(a)”

   when the defendant waited “until its rebuttal expert report to

   identify specific products that it believed should have been

   marked,” and explaining that while the defendant “may bear a low

   burden of production . . . it is a burden that nonetheless must be

   met”); Realtime Data, LLC v. Echostar Corp., No. 6:17cv84, ECF No.

   247, at 8-10 (E.D. Tex. Oct. 16, 2018) (slip op.) (denying the

   defendants’ motion for partial summary judgment seeking to limit

   damages    as   to   two   groups    of    licensed   products   because   the

   defendants had a burden to “actually produce some notice of what

   products    Defendants     believe    require    marking,”   and   while   the

   defendants “identified other specific products in response to

   Plaintiff’s Interrogatory,” they did not identify two of the groups

   of products for which partial summary judgment was sought).             It is

   likewise    unclear    from   the     summary    judgment    record   whether

   Biedermann had an adequate opportunity to prepare and submit

   responsive admissible evidence in light of the timing of the

   resolution of the associated discovery dispute.

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         Based on K2M’s failure to carry its burden under Arctic Cat

   at the summary judgment stage, its summary judgment motion as to

   the Synapse marking claim is DENIED.                  Whether K2M can raise this

   marking claim at trial, or whether it is waived because it was not

   timely raised, is a matter that must be independently briefed after

   the parties have had the opportunity to conduct/resume settlement

   negotiations.         Notably, Judge Miller’s written ruling on this

   issue, which was subsequently upheld by this Court, memorialized

   Judge Miller’s oral finding made at the conclusion of the hearing

   on Biedermann’s motion to strike K2M’s supplemental expert report.

   As Judge Miller indicated on the record, his decision was limited

   to denying K2M’s motion to submit the supplemental expert report,

   with Judge Miller further clarifying that he made no finding as to

   whether K2M could still advance a marking defense at trial based

   on the otherwise admissible evidence associated with the ’399

   patent.    ECF No. 325, at 76.

                         D. Damages - Willful Infringement

         K2M’s’        final   summary    judgment          claim   asserts   that       no

   reasonable jury could conclude that K2M’s pre-suit conduct, or

   post-suit conduct, constitutes “willful” infringement, an issue

   relevant       to   whether,   in     the        event   that    Biedermann     proves

   infringement, “the court may increase the damages up to three times

   the amount found or assessed” by the jury.                   35 U.S.C. § 284.         As

   argued    by    Biedermann,     whether          infringement    is   willful    is    a

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   “classic[] jury question of intent.”       WBIP, LLC v. Kohler Co., 829

   F.3d 1317, 1341 (Fed. Cir. 2016); see Exmark Mfg. Co. v. Briggs &

   Stratton Power Prods. Grp., LLC, 879 F.3d 1332, 1353 (Fed. Cir.

   2018).     However, like any other fact-intensive issue, such matter

   can be appropriately resolved by the Court on summary judgment

   when an alleged infringer demonstrates an absence of evidence on

   which a reasonable jury could make a finding of willfulness.

   Additionally, a recitation of the legal test governing § 284

   damages is incomplete without highlighting that “an award of

   enhanced    damages   does   not   necessarily    flow   from    a    [jury’s]

   willfulness finding.”        Presidio Components, Inc. v. Am. Tech.

   Ceramics Corp., 875 F.3d 1369, 1382 (Fed. Cir. 2017).                  Rather,

   after the jury finds willful infringement, it is the Court that

   determines whether damages should be increased under § 284 based

   on “sufficiently egregious” misconduct.          Id.; see Eko Brands, LLC

   v. Adrian Rivera Maynez Enter., Inc., 946 F.3d 1367, 1378 (Fed.

   Cir. 2020).

         The legal test for determining willful infringement and the

   subsequent award of § 284 damages has evolved over time, with the

   current standard established by the United States Supreme Court in

   Halo Electronics, Inc. v. Pulse Electronics, Inc., 136 S. Ct. 1923

   (2016).    In Halo, the Supreme Court rejected the Federal Circuit’s

   then-in-place    categorial    requirements    necessary    to       support   a

   finding of willfulness (as outlined in In re Seagate Technology,

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   LLC, 497 F.3d 1360, 1374 (Fed. Cir. 2007) (en banc) and related

   cases),    “eschew[ing]   any     rigid     formula   for    awarding    enhanced

   damages under § 284” in favor of a broad rule that “commits the

   determination whether enhanced damages are appropriate to the

   discretion of the district court.”                 Halo, 136 S. Ct. at 1934

   (internal quotation marks omitted).

                                 1. Pre-suit Conduct

         The primary dispute regarding willfulness briefed by the

   parties involves whether a reasonable juror could find or infer

   from the evidence highlighted by Biedermann that K2M was “on

   notice” of the patents-in-suit prior to the filing of the instant

   lawsuit.   See WBIP, LLC, 829 F.3d at 1341 (“Knowledge of the patent

   alleged to be willfully infringed continues to be a prerequisite

   to enhanced damages.” (citing Halo, 136 S. Ct. at 1932-33)); Halo,

   136 S. Ct. at 1933 (“[C]ulpability is generally measured against

   the   knowledge    of   the    actor   at    the    time    of   the   challenged

   conduct.”). 11    It is undisputed for purposes of summary judgment

   that Biedermann never notified K2M of its patents or of any



    11Even if pre-suit knowledge of a patent is not categorically required in
   every circumstance, WCM Indus., Inc. v. IPS Corp., 721 F. App’x 959, 970
   (Fed. Cir. 2018) (unpublished), to include situations where subjective
   willfulness is proven through willful blindness and demonstrating “that the
   defendant acted despite a risk of infringement that was . . . ‘so obvious
   that it should have been known to the accused infringer,’” Arctic Cat, 876
   F.3d at 1371 (quoting Halo, 136 S. Ct at 1930), here, Biedermann does not
   point to evidence supporting a reasonable inference of willful blindness
   associated with specific products/patents (with the potential exception of
   the ’093 patent) nor does it point to evidence suggesting an “obvious” risk
   of infringement of any relevant patent that should have been known to K2M.

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   potential infringement even though Mr. Biedermann believed that

   K2M was potentially infringing Biedermann’s patents for some time

   prior to filing suit. 12 See, e.g., ECF No. 301-1, at 377-84. K2M’s

   summary judgment brief largely carries its initial burden to

   demonstrate an absence of admissible facts supporting willful

   infringement, thus requiring Biedermann to highlight evidence on

   which a jury could return a verdict in its favor on this damages

   theory.

         The majority of Biedermann’s evidence purporting to establish

   that K2M had pre-suit knowledge of Biedermann’s patents consists

   of brief excerpts from depositions revealing that certain K2M

   employees acknowledged that they had a minimal degree of general

   knowledge of Biedermann as a competitor in the field (to include

   familiarity as remote as having met Mr. Biedermann years earlier),

   or had some general familiarity with Biedermann’s spinal products

   or the fact that Biedermann had patents and/or licensees in the

   field. 13   See ECF No. 387-5 to -10.       However, as highlighted by



   12The parties dispute the admissibility of a document that K2M cites for
   the purpose of establishing that Biedermann was seeking a “strategic”
   opportunity to pursue infringement claims against K2M several years before
   suit was filed.   ECF No. 301-4, at 118.    Even if admissible, the Court
   agrees with Biedermann that Biedermann’s past motivations are not directly
   relevant to determining whether K2M had other forms of pre-suit “notice” of
   the patents-in-suit, although any decision by Biedermann to delay notice to
   K2M (for whatever reason) may later become relevant context to the extent
   Biedermann seeks to portray itself as a party injured by the egregious
   conduct of its business rival.
   13As previously discussed, at least some of these licensed products were
   not marked.

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   K2M,   several      of   these    witnesses         made   very    clear      statements

   indicating their lack of knowledge of any of Biedermann’s patents,

   and it    is    clear    that    Biedermann’s        efforts      to   draw    favorable

   inferences from such testimony stretch beyond plausibility and

   into the realm of speculation. Illustrating such point, Biedermann

   goes so far as to argue that because a Stryker executive familiar

   with Biedermann’s patents had some discussions with K2M about K2M’s

   products prior to the acquisition of K2M, the Stryker executive’s

   knowledge      is   imputable    to     K2M,    a    separate     corporate      entity.

   Notably, Biedermann offers nothing but pure speculation that such

   Stryker executive’s “interactions” with K2M about K2M’s spinal

   products involved any discussion of Biedermann’s patents, thus

   clearly failing to support Biedermann’s unsupported claim that

   such    communications      are       “strong       evidence      of   K2M’s    willful

   infringement.”       ECF No. 368, at 27.

          This Court’s role on summary judgment is limited to drawing

   “reasonable”        inferences     in     favor       of   the     non-movant,      and

   Biedermann’s efforts to rely on “conjecture and speculation” or to

   “build[] one inference upon another,” Cline v. Aetna Life Ins.

   Co., 290 F. Supp. 3d 425, 434 (W.D.N.C. 2017), through highlighting

   multiple statements from different people evidencing virtually no

   knowledge of Biedermann’s patents in general, let alone specific

   knowledge of the patents-in-suit, coupled with assertions that K2M

   “must have known” about the relevant patents simply because K2M

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   practices in the same field as Biedermann, is insufficient to

   survive summary judgment.      See EON Corp. IP Holdings LLC v. FLO TV

   Inc., 802 F. Supp. 2d 527, 533–34 (D. Del. 2011) (rejecting a

   claim, as part of an indirect infringement analysis, that the

   defendants “should have known” of one of the plaintiff’s patents

   “by virtue of their participation in the . . . [relevant] market”);

   Pacing Techs., LLC v. Garmin Int’l, Inc., No. 12-CV-1067, 2013 WL

   444642,   at   *2   (S.D.   Cal.   Feb.   5,    2013)   (finding    that     the

   plaintiff’s    allegations    were   “too      speculative   to    support    a

   reasonable inference that [the defendant] knew of the patent prior

   to commencement of th[e] suit” based on the fact that it “holds

   hundreds of patents, regularly files patent applications, and

   performs due diligence including patent searches and prior art

   searches” in the relevant field).         Notably, if the “competitor in

   the field” argument prevailed, every patent case between two

   companies in the same industry would, by default, require that a

   jury decide willfulness based on factually unsupported supposition

   about what the other “must have” known.         See CTB, Inc. v. Hog Slat,

   Inc., 954 F.3d 647, 658 (4th Cir. 2020) (“[P]ermissible inferences

   must still be within the range of reasonable probability . . . and

   it is the duty of the court to withdraw the case from the jury

   when the necessary inference is so tenuous that it rests merely

   upon   speculation    and    conjecture.”        (omission   in    original)

   (quotation marks omitted).         Such speculative exercise finds no

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   support in the law, which clearly limits the recovery of § 284

   enhanced   damages    to    the   small    subset   of   cases   that   involve

   egregious conduct.     Halo, 136 S. Ct. at 1935.

         In addition to Biedermann’s improper efforts to make broad

   logical leaps from the evidence it highlights, its summary judgment

   position also fails to account for the fact that this case involves

   numerous patents, numerous products, and numerous allegations of

   discrete forms of infringement.            Therefore, even accepting (as

   discussed below) that K2M had some pre-suit notice of the existence

   of one of the patents-in-suit, Biedermann fails to illustrate how

   a jury could conclude that such knowledge put K2M on notice of the

   other eleven patents at issue in this case.               The fact that the

   vast majority of Biedermann’s opposition brief paints in broad

   strokes seeking to demonstrate generalized knowledge of Biedermann

   as an industry competitor illustrates that even when the facts are

   interpreted in its favor, Biedermann has not demonstrated K2M’s

   pre-suit knowledge outside of one of the patents-in-suit that

   remains in dispute.        There is likewise no evidence that K2M copied

   a marked product, knowingly accepted advice from a “consultant”

   predicated on his or her knowledge of a competitor’s patented

   product or patented technology, or other circumstantial evidence

   that could support a reasonable inference that K2M was aware of

   the patents-in-suit before Biedermann filed the instant action.



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         Notwithstanding the above, the Court does find that disputed

   facts and/or conflicting reasonable inferences exist with respect

   to K2M’s pre-suit knowledge of the ’093 patent.                As to this

   specific patent, it is undisputed that K2M cited to the relevant

   Biedermann patent during the prosecution of K2M’s patents.              See

   No. 297, at 26 n.10; ECF No. 368, at 26 (listing Biedermann patents

   cited by K2M). 14   K2M counters such evidence by pointing to facts

   suggesting that only lawyers or members of K2M’s legal team were

   aware of such references; however, it is unclear to the Court from

   the cited evidence the degree to which in-house K2M representatives

   might have been aware of the ’093 Biedermann patent, which makes

   it difficult to resolve this issue without weighing facts and

   competing inferences.       It is therefore this Court’s view that,

   notwithstanding the apparent limitations of Biedermann’s evidence,

   it is not appropriate for this Court to weigh evidence that is

   capable of supporting reasonable competing inferences. 15               See


   14The Court’s analysis of the ’093 patent would otherwise also apply to the
   ’194 patent, which was similarly cited in a K2M patent; however, Biedermann
   has elected not to proceed on the ’194 patent in this case. ECF No. 368,
   SMF ¶ 24 (“Biedermann has informed K2M [that] it is not pursuing the ’194
   . . . Patent[] in this case.”).
   15 In light of the sheer number of pending issues across nine to twelve
   disputed patents, only so much of the parties’ summary judgment briefs could
   be devoted to the willfulness issue, and neither party has therefore broken
   down its briefs on willfulness on a patent-by-patent basis. As the summary
   judgment burden lies with K2M, the Court finds that the appropriate
   resolution is to deny summary judgment as to the patent for which Biedermann
   has highlighted evidence of K2M’s pre-suit knowledge, knowledge that could
   conceivably extend to both the existence of the patent and its contents. A
   contrary finding may impinge on the jury’s role on an issue where the
   relevant facts remain unclear based on the current state of the record.

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   Meridian Mfg., Inc. v. C & B Mfg., Inc., 340 F. Supp. 3d 808, 844

   (N.D. Iowa 2018) (denying summary judgment in a case where the

   defendant cited the patent-in-suit “in the prosecution of [the

   defendant’s] own patent”); RLIS, Inc. v. Cerner Corp., No. 3:12-

   CV-209, 2014 WL 7205434, at *2 (S.D. Tex. Dec. 17, 2014) (finding

   that “[m]ultiple direct citations” to the patents-in-suit by the

   defendant’s subsidiary in its own patent applications “suggests

   that [the defendant] knew about [the plaintiff’s] patents and their

   contents,    differentiating     th[e]     case    from   those   involving

   attenuated references”). 16

         The Court’s ruling as to the ’093 patent considers the fact

   that Biedermann does not rely on pre-suit knowledge in isolation,

   but   rather,    highlights    such    knowledge    in    conjunction   with


   16 The parties’ summary judgment filings also address K2M’s citation in one

   of its patents to the “application” that preceded the issuance of the ’399
   patent. However, as this court has previously held:

         “To willfully infringe a patent, the patent must exist and one
         must have knowledge of it.” State Indus., Inc. v. A.O. Smith
         Corp., 751 F.2d 1226, 1236 (Fed. Cir. 1985) (emphasis in
         original). “Filing an application is no guarantee any patent
         will issue and a very substantial percentage of applications
         never result in patents. What the scope of claims in patents
         that do issue will be is something totally unforeseeable.” Id.
         Thus, it is insufficient to allege knowledge of a patent
         application without further alleging knowledge of the patent.

   Virginia Innovation Scis., Inc. v. Samsung Elecs. Co., 983 F. Supp. 2d 700,
   709 (E.D. Va. 2013). Accordingly, absent facts suggesting either that any
   K2M representative was later aware of the issuance of the ’399 patent (a
   patent that K2M asserts is anticipated, obvious, and was practiced without
   patent marking) or that any such person actively took steps to avoid
   discovering whether the ’399 patent did in fact issue, there is no valid
   basis on which a jury could conclude that K2M had pre-suit knowledge of the
   ’399 patent and/or the scope of what was actually covered by such patent
   after it issued.

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   additional    circumstantial       evidence   that   could    support     the

   inference    that   K2M   inventors   or   representatives    intentionally

   avoided investigating Biedermann’s known prior art, 17 as well as

   evidence    (discussed    below)   indicating    that   K2M   continued   to

   knowingly infringe after this suit was filed. Accordingly, summary

   judgment on the issue of willfulness based on pre-suit conduct is

   GRANTED in favor of K2M, with the exception of the ’093 patent. 18




   17Biedermann at times suggests that K2M should have been doing more to fully
   investigate the scope of competitors’ patents, including Biedermann’s, that
   K2M was speculatively aware of, a position that is arguably reminiscent of
   the willfulness standard in force prior to 2007.        Such long-abrogated
   standard provided that when a “potential infringer has actual notice of
   another’s patent rights, he has an affirmative duty to exercise due care to
   determine whether or not he is infringing.”     Seagate, 497 F.3d at 1368.
   However, not only did Seagate abrogate the “affirmative duty of due care”
   standard, but the replacement standard adopted in Seagate has now itself
   been abrogated by Halo, 136 S. Ct. at 1934. This Court’s above reference
   to “avoiding investigation” is not intended to suggest that the Court is
   applying a standard requiring an “affirmative duty of due care,” but rather
   to note, as it must, the existence of additional evidence that favors
   Biedermann as to a patent that may have been “known” to K2M prior to the
   date that the instant suit was filed.
   18 Biedermann’s opposition brief also makes reference to K2M’s purported
   knowledge of the ’820 patent as well as other patents in the same “families”
   as the patents-in-suit.    While such evidence would surely be additional
   circumstantial evidence in support of Biedermann’s position if there was
   any evidence indicating that K2M, rather than people K2M spoke with (i.e.,
   Stryker, pre-acquisition) or collaborated with (i.e., Dr. John Carbone) had
   knowledge of the relevant patents, Biedermann points to no evidence even
   supporting an inference that K2M had actual knowledge of additional patents-
   in-suit, and Biedermann has had a full opportunity to seek to develop such
   facts during discovery. While K2M’s lack of pre-suit knowledge certainly
   does not absolve K2M from damages for any infringement that is proven at
   trial, the facts do not support double or triple damages in this run-of-
   the-mill infringement case. See Halo, 136 S. Ct. at 1935 (warning of the
   dangers if “enhanced damages are awarded in garden-variety cases”). The
   fact that Biedermann has licensed several of its patents to other companies
   yet has apparently not required those companies to “mark” patent numbers on
   their products further illustrates the absence of an inference in support
   of a theory of generalized “industry notice,” i.e., that K2M “must have
   known” of these Biedermann patents and their contents.

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                             2. Post-suit Conduct

         Prior to Halo, § 284 “enhanced damages could not be awarded

   solely based on post-suit conduct” as a result of the controlling

   standard articulated in Seagate.          TecSec, Inc. v. Adobe Inc., No.

   1:10cv115, 2019 WL 1233882, at *1 (E.D. Va. Mar. 14, 2019).                 After

   the Seagate standard was abrogated by Halo, “courts have split on

   whether the prohibition for enhanced damages based solely on post-

   suit conduct remains.”      Id.     While the Supreme Court’s rejection

   of all formulaic tests associated with § 284 damages arguably

   extends to abrogating the categorial ban on enhanced damages based

   solely   on   post-suit   conduct    (because   some    cases    may    involve

   overwhelming evidence of bad-faith and consciously wrong post-suit

   conduct), this Court need not decide the issue here.             Critically,

   even assuming that such prohibition is no longer in force, the

   type of post-suit conduct that could, standing alone, rise to the

   level that would support an enhanced damages award would require

   a degree of egregiousness that was at a minimum “willful, wanton,

   malicious, bad-faith, deliberate, consciously wrongful, flagrant,

   or—indeed—characteristic of a pirate,” Halo, 136 S. Ct. at 1932,

   and “[K2M’s] post-suit conduct in this case does not come close to

   rising to the level of culpability necessary for an award of

   enhanced damages,” TecSec, 2019 WL 1233882, at *2.                     Notably,

   Biedermann    has   not   pursued    an    injunction   and     has    at   most

   illustrated that it can demonstrate that K2M has continued to

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   infringe after this lawsuit was filed even though: (1) both the

   filing   of   the   case   itself    and   Stryker’s   past   knowledge   of

   Biedermann’s patents put K2M on notice of the infringement; 19 and

   (2) K2M purportedly could have designed around multiple patents

   for a modest sum of money.          Noticeably absent from Biedermann’s

   summary judgment opposition is any evidence that K2M acted in a

   malicious or consciously wrongful way or that K2M lacks a facially

   reasonable defense to each allegation of infringement.           Therefore,

   as to all patents other than the ’093 patent, 20 summary judgment

   is GRANTED in favor of K2M as to willful infringement based on

   post-suit conduct. 21

         In light of the continuing evolution of controlling law on

   the willfulness standard, this Court further clarifies that even


   19 Notwithstanding Biedermann’s apparent suggestion to the contrary, the

   Court finds no relevance in any “double-notice” grounded in Stryker’s
   knowledge base that became imputable to K2M after it was acquired by Stryker.
   K2M was fully on notice of Biedermann’s patents when suit was filed, and
   ringing the notice bell a second time after suit was filed does not somehow
   elevate the otherwise complete notice so as to render K2M’s continuing
   alleged infringement any more improper than it would be without such “second”
   notice.
   20As a result of evidence that could support a finding that K2M had pre-
   suit notice of the ’093 patent, it would be inappropriate to preclude the
   factfinder from considering all of K2M’s actions relevant to such patent,
   including post-suit conduct, because the proper test for willful
   infringement “looks to the ‘totality of the circumstances.’” WCM Indus.,
   721 F. App’x at 970 (quoting Shiley, Inc. v. Bentley Labs., Inc., 794 F.2d
   1561, 1568 (Fed. Cir. 1986)). That said, Biedermann’s concession regarding
   the lack of “marking” of the ’093 patent may undercut, at least to a degree,
   Biedermann’s ability to demonstrate that K2M engaged in egregious pre-suit
   conduct with respect to the ’093 patent.
   21 While the Court’s ruling on this issue largely favors K2M, the Court
   rejects the portion of K2M’s brief that relies on Seagate for the proposition
   that failure to seek a preliminary injunction categorically precludes

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   if    the    factfinder     concluded         that      K2M     committed    “willful”

   infringement through its post-suit conduct of continued infringing

   sales, the necessary second step to obtaining an increased damages

   award-that     is,   proving     to    the      Court    that    K2M’s    conduct    was

   “egregious”-finds no factual support in the instant record.                          See

   Presidio Components, 875 F.3d at 1382 (“Enhanced damages are

   generally only appropriate in egregious cases of misconduct, such

   as willful, wanton, or malicious behavior,” and therefore, “an

   award   of    enhanced    damages      does     not     necessarily      flow    from   a

   willfulness     finding.”).           In   other      words,     this    Court   easily

   concludes as a matter of law that K2M’s post-suit conduct is

   insufficient, standing alone, to support an increased damages

   award even if a jury found that K2M’s conduct meets the updated

   legal definition of “willful infringement.”                     See Eko Brands, 946

   F.3d at 1378 (explaining that, post-Halo, the jury must find “no

   more than deliberate or intentional infringement” and if such

   finding is made, the “question of enhanced damages is addressed by

   the   court,”    and   it   is   “at       this    second      stage    at   which   the


   enhanced damages based solely on post-suit conduct. See ECF No. 383, at
   18. As discussed herein, Halo largely rejected the willful infringement
   standard outlined in Seagate and related cases, and “eschew[ed] any rigid
   formula for awarding enhanced damages under § 284” in favor of a broad rule
   that “commits the determination whether enhanced damages are appropriate to
   the discretion of the district court.” Halo, 136 S. Ct. at 1934 (internal
   quotation marks omitted); see Mentor Graphics Corp. v. EVE-USA, Inc., 851
   F.3d 1275, 1295–96 (Fed. Cir. 2017) (reversing the district court’s ruling
   that continued to rely on the “Seagate rule” requiring a preliminary
   injunction, noting that there are no rigid rules governing the willfulness
   inquiry). The absence of an injunction request may be relevant, but it is
   no longer determinative.

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   considerations     of    egregious    behavior    and    punishment    are

   relevant”).    Both prongs of such inquiry are appropriately taken

   up on summary judgment as to the allegations limited to post-suit

   willful infringement, or else a great percentage of patent cases

   would permit the pursuit of enhanced damages at trial absent a

   shred of evidence of egregious behavior.         As explained by another

   judge of this Court in TecSec:

         Enhanced damages “are generally reserved for egregious
         cases of culpable behavior.” Halo, 136 S. Ct. at 1932.
         As the Supreme Court explained in Halo:

             Awards of enhanced damages under the Patent Act
             over the past 180 years establish that they are
             not to be meted out in a typical infringement
             case, but are instead designed as a “punitive” or
             “vindictive” sanction for egregious infringement
             behavior.     The sort of conduct warranting
             enhanced damages has been variously described in
             our cases as willful, wanton, malicious, bad-
             faith,    deliberate,    consciously    wrongful,
             flagrant, or—indeed—characteristic of a pirate.

         Id. [Plaintiff’s] post-suit conduct in this case does
         not come close to rising to the level of culpability
         necessary for an award of enhanced damages.

         [Plaintiff’s] continued sale of the infringing product
         without removing its infringing capability is merely
         typical infringement behavior that is not a proper basis
         for enhanced damages.   Intellectual Ventures I LLC v.
         Symantec Corp., 234 F. Supp. 3d 601, 612 (D. Del. 2017)
         (finding that “[n]o reasonable jury could find willful
         infringement based on” evidence that the defendant “has
         continued to update, produce, and sell” the infringing
         product after the suit was filed). . . .

         . . .

         Thus, even if post-suit conduct alone were sufficient
         for a finding of willful infringement, and even if the

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           jury would have agreed with [the plaintiff] that [the
           defendant] willfully infringed, an award of enhanced
           damages would not have been appropriate under the facts
           in this case.   For these reasons, and for good cause
           shown, [the defendant] was entitled to judgment as a
           matter of law on the issue of willful infringement.

   TecSec, 2019 WL 1233882, at *2-3. 22

           For the reasons set forth above, K2M’s motion seeking a ruling

   of “no willfulness” is GRANTED as to all of the patents-in-suit,

   with the exception of the ’093 patent.              Should the jury find

   intentional infringement of such patent, this Court will determine

   whether enhanced damages are appropriate based on the evidence

   presented at trial. Having addressed all of K2M’s summary judgment

   claims, the Court turns to Biedermann’s cross-motion for summary

   judgment.

                   IV. BIEDERMANN’S SUMMARY JUDGMENT MOTION

           Biedermann seeks summary judgment on four grounds: (1) K2M is

   estopped from challenging the validity or enforceability of the

   ’820 patent in light of K2M’s status as a subsidiary of Stryker;

   (2) the “Carbone patent” 23 does not qualify as § 102(g) prior art,

   and thus does not anticipate or render obvious claims of the ’820,

   ’194, or ’093 patents; (3) K2M’s Yukon device infringes Claim 1 of



   22 Although the parties’ summary judgment motions do not compartmentalize
   the “egregious” inquiry into the second step of the applicable analysis,
   both parties’ briefs squarely address whether Biedermann’s evidence fails,
   as a matter of law, to demonstrate egregious conduct, and it is therefore
   appropriate for this Court to address this issue at this time.
   23   The Carbone patent, U.S. Patent No. 6,974,460, is assigned to Stryker.

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   the ’820 patent; and (4) Claim 14 of the ’399 patent is infringed

   by K2M’s Yukon devices and the ’399 patent is not anticipated or

   rendered obvious by the prior art references cited by K2M.

                   A.    Estoppel Regarding the ’820 Patent

          Biedermann’s     summary   judgment   motion   asserts   two   primary

   theories as to why K2M is barred from challenging the validity or

   enforceability of the ’820 patent: (1) in 2013, at the conclusion

   of patent interference litigation and in an effort to avoid future

   litigation, Stryker, K2M’s new parent company, voluntarily entered

   into    a   licensing    agreement   with    Biedermann   whereby     Stryker

   expressly agreed “that it will not take any steps to invalidate or

   otherwise challenge the validity or enforceability of any of the

   claims” of certain listed patents, which include the ’820 patent,

   ECF No. 314-1, ¶¶ 1.3, 5.3; and (2) K2M is collaterally estopped

   from asserting that the Carbone patent has priority over the ’820

   patent because the issue was previously litigated by Stryker, the

   real party in interest in this case.           For the reasons set forth

   below, the Court agrees with Biedermann’s first contention, and

   summary judgment is therefore GRANTED as to this issue.

                             1. Contractual Estoppel

          It is undisputed that Stryker acquired K2M less than a week

   after the original complaint was served in this case.           The summary

   judgment record reveals factual disputes regarding the degree to

   which K2M was operating as an independent corporate entity at

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   various points during this litigation, with at least part of the

   dispute appearing to turn on the distinction between K2M Inc. and

   K2M Group Holdings, Inc.        See ECF No. 360, Counterstatement of

   Facts (“COF”) ¶ 6.      The Court assumes for the purposes of summary

   judgment, in K2M’s favor as non-movant, that K2M Inc. continues to

   be an ongoing corporate entity with “legal advisors” that are still

   participating in this case.        However, it is undisputed that K2M

   was acquired by Stryker, that K2M has “integrated” with Stryker

   (or is at least in a still “ongoing process” of integration), 24 and

   that Stryker will be bound by any judgment against K2M in this

   case.   See ECF No. 360, COF ¶ 6; ECF No. 246, at 7-9.           Moreover,

   K2M does not challenge Biedermann’s factual assertions that former

   K2M employees are now Stryker employees and that Stryker and its

   legal    department     is   participating    in,   and    possibly     even

   controlling, the defense of this patent litigation suit.           Compare

   ECF No. 312, Statement of Undisputed Facts (“SUF”) ¶¶ 17-18, with

   ECF No. 360, COF ¶ 6.        All that said, the critical fact for the

   purpose of resolving Biedermann’s summary judgment motion is that

   K2M was acquired by Stryker in November 2018, just days after

   Biedermann     served    the    original     complaint,    and    K2M    is


   24The COVID-19 pandemic has significantly delayed the timeline of this case,
   as civil jury trials have been suspended in this District since March of
   last year and the parties have elected not to proceed to a bench trial.
   While the facts regarding the degree of integration between K2M and Stryker
   that existed during 2019 and early 2020 may have materially changed with
   the passage of time, any such change does not affect the outcome of
   Biedermann’s summary judgment motion.

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   unquestionably, at a minimum, a corporate “subsidiary” of Stryker.

   See ECF No. 246, at 15 (reflecting K2M’s assertions that the

   announcement of the acquisition occurred in August of 2018, shortly

   before suit was filed, and that the completion of the acquisition

   occurred in November of 2018, shortly after suit was filed).

         As K2M is clearly a subsidiary of Stryker, the question for

   the Court on summary judgment is whether K2M is contractually bound

   not to challenge the priority of the ’820 patent pursuant to the

   terms of the 2013 patent license agreement between Stryker and

   Biedermann, as such written contract expressly precludes Stryker

   from taking any steps to invalidate or otherwise challenge the

   validity or enforceability of named Biedermann patents, to include

   the ’820 patent.     See ECF No. 314-1.      As this Court explained in

   detail in Certusview Technologies, LLC v. Usic, LLC, No. 2:14cv373,

   2014 WL 12591937 (E.D. Va. Dec. 15, 2014):

         The Federal Circuit has held that a settlement agreement
         can collaterally estop a party thereto from contesting
         the validity of a patent in certain instances. See Flex–
         Foot, Inc. v. CRP, Inc., 238 F.3d 1362, 1370 (Fed. Cir.
         2001). Under the doctrine of contractual estoppel,
         “invalidity and unenforceability claims may be released
         [in a settlement agreement], but only if the language of
         the   agreement   or   consent   decree  is    clear   and
         unambiguous.”    Baseload Energy, Inc. v. Roberts, 619
         F.3d 1357, 1362 (Fed. Cir. 2010). Moreover, “clear and
         unambiguous language barring the right to challenge
         patent validity in future infringement actions is
         sufficient, even if invalidity claims had not been
         previously at issue and had not been actually
         litigated.” Id. at 1363. Courts apply Federal Circuit
         law   in   determining   whether   contractual    estoppel
         precludes a party from challenging the validity of a

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         patent “because the question of whether a settlement
         agreement bars a party from challenging the validity of
         a patent in a subsequent action is intertwined with the
         substance of enforcement of a patent right.”      Id. at
         1361 (citing Flex–Foot, 238 F.3d at 1365). Under Federal
         Circuit law, courts “interpret consent judgments in
         accordance with the general principles of contract law,
         such that the scope of a consent decree is limited to
         its terms and . . . its meaning should not be strained.”
         Ecolab, Inc. v. Paraclipse, Inc., 285 F.3d 1362, 1376
         (Fed Cir. 2002) (internal quotation marks and citations
         omitted).

   Certusview,     2014   WL    12591937,      at    *10    (footnote     omitted).

   “Accordingly, to determine whether the [post-litigation] agreement

   contractually     estops     [K2M,   as    a     Stryker      subsidiary,]    from

   contesting the validity of the [’820 patent], the Court must turn

   to the language of the agreement itself.”               Id.

         While there are multiple disagreements between the parties

   regarding the applicability of contractual estoppel, 25 the primary

   issue   is   whether   K2M   is   bound    by    the   earlier-in-time       patent

   licensing agreement executed by Stryker and Biedermann.                         Two


   25The Court rejects K2M’s preliminary contention that none of the factors
   outlined by the Federal Circuit in Flex–Foot support contractual estoppel
   because K2M was not itself a party to the prior litigation and/or contract.
   ECF No. 360, at 18-19. See Flex–Foot, 238 F.3d at 1370 (listing multiple
   factors applicable to determine whether a contractual waiver of future
   validity challenges is enforceable, including whether the “accused infringer
   has challenged patent validity” and “has elected to voluntarily dismiss the
   litigation with prejudice under a settlement agreement” with a clear waiver
   provision).   Here, both the Flex-Foot factors and the Federal Circuit’s
   subsequent decision in Baseload Energy reveal that the contract at issue is
   enforceable as to Stryker.       See Baseload Energy, 619 F.3d at 1362
   (explaining that while the Flex-Foot factors are “pertinent” to whether a
   waiver of future validity challenges is enforceable, they are not
   “determinative” because “[e]ach case must be examined on its own facts in
   light of the agreement between the parties”). Whether the scope of such
   contract, as agreed to by Biedermann and Stryker, extends to K2M as a
   subsidiary of Stryker turns on the express terms of the contract.

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   provisions of the patent license agreement are key.         Paragraph 5.3

   provides:

         5.3 Stryker represents, warrants and covenants that it
         will not take any steps to invalidate or otherwise
         challenge the validity or enforceability of any of the
         claims of any Biedermann Favored Angle Patents that
         issued prior to the Effective Date. With respect to any
         other claims in the Biedermann Favored Angle Patents,
         Stryker shall have the right to take active steps to
         invalidate or otherwise challenge the validity or
         enforceability of such claims, but only in the event
         that such claims are both (i) allowed after the Effective
         Date, and (ii) asserted in an infringement action by
         DePuy or Biedermann against Stryker or any of their
         Affiliates.

   ECF No. 314-1 ¶ 5.3 (emphases added).       Furthermore, paragraph 10.1

   provides:

         10.1 The Parties agree that this License Agreement shall
         inure to the benefit of and be binding upon each of their
         respective    agents,   representatives,    shareholders,
         officers, directors, attorneys, employers, permitted
         assigns, subsidiaries, insurers, and predecessor or
         permitted successor companies.

   Id. ¶ 10.1 (emphases added). Consistent with this Court’s analysis

   in Certusview, the law is clear that the contract does not estop

   Stryker or its subsidiaries from contesting the validity of the

   ’820 patent unless the contract provisions provide a “clear and

   unambiguous” release of such claims.

         Whether there is a clear release here turns first on the

   language of paragraph 5.3, and this Court easily concludes that

   such paragraph provides a clear and unambiguous release with

   respect to the specified patents that issued prior to the execution


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   of the 2013 contract, to include the expressly referenced ’820

   favored angle patent, which is dated May 18, 2004.                     Specifically,

   the contract’s plain language provides that Stryker “will not take

   any    steps   to    invalidate      or   challenge       the       validity   or   the

   enforceability of any of the claims” of the ’820 patent.                          Id. ¶

   5.3 (emphases added).        “In cases interpreting similar language in

   settlement     agreements,     other      courts   have    concluded       that     such

   language qualified as a clear and unambiguous release of the right

   to    challenge     the   validity   of    a   patent     in    a    future    action.”

   Certusview, 2014 WL 12591937, at *13; see Flex–Foot, 238 F.3d at

   1364, 1370 (finding a clear waiver of the right to challenge a

   patent based on language in a written settlement “agree[ing] not

   to challenge or cause to be challenged, directly or indirectly,

   the validity or enforceability of [two listed patents] in any court

   or other tribunal”); SRAM, LLC v. Hayes Bicycle Grp., Inc., 973 F.

   Supp. 2d 894, 904–05 (N.D. Ill. 2013) (finding an enforceable

   waiver based on a settlement agreement stating that the party

   “agrees not to take any action whatsoever to attack the validity

   or enforceability” of the listed patents); Petter Invs., Inc. v.

   Hydro Eng’g, Inc., 828 F. Supp. 2d 924, 926 (W.D. Mich. 2011)

   (finding contractual estoppel based on a settlement agreement

   stating that neither the party, “nor its attorneys shall take any

   action to aid, induce, assign, or participate in, directly or



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   indirectly, any action contesting the validity or enforceability

   of any of the Hydro patents in suit”).

         While the release provision itself is clear, K2M argues that,

   as an after-acquired subsidiary, it is not bound by ¶ 5.3, which

   states in the first sentence that “Stryker represents, warrants

   and covenants” that it will not take steps to challenge the

   patents.    Notably absent from such first sentence, argues K2M, is

   any reference to Stryker’s “affiliates” or subsidiaries agreeing

   not to take such steps.      In support of such argument,       K2M notes

   that multiple other provisions of the contract expressly reference

   “affiliates,” to include the second sentence of ¶ 5.3.               K2M’s

   argument, which has some initial appeal, contends that the failure

   to include the word “affiliates” in the first sentence of ¶ 5.3

   requires that such provision be read to only limit Stryker.

         Biedermann’s counter to K2M’s position focuses on ¶ 10.1 of

   the contract, which expressly states that all the benefits of the

   licensing agreement, and all the obligations of such agreement,

   extend to various agents/subdivisions/alter egos of the named

   parties, to include “subsidiaries.”          K2M, in turn, calls such

   provision “boilerplate,” and labels Biedermann’s construction of

   the contract as “strained.”      K2M, however, fails to explain how or

   why a purportedly “boilerplate” provision in a contract between

   two sophisticated entities is unenforceable, particularly when

   such provision appears to be designed, at least in part, to avoid

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   an “end-run” around the obligations of the contract that would

   occur    if   Stryker     or    Biedermann       incorporated        or     acquired   a

   subsidiary, or acted through an agent or representative, to perform

   the     precise    acts    that   the     contract       forbids     the     signatory

   corporation       from    performing.          Stated    a    little      differently,

   “boilerplate” language is a mainstay of contracts for a reason:

   time has taught that without certain provisions, the benefit of

   the bargain may be lost.            K2M’s use of the “boilerplate” label

   therefore does not advances its cause.                   Cf. ¶ 10.8 (indicating

   that the terms of the contract are “the result of negotiations

   between the Parties and their counsel”).                 Similarly, K2M fails to

   offer any compelling argument as to why reading ¶ 10.1 as extending

   all listed obligations to “subsidiaries,” as is expressly stated

   in such written provision, is a “strained” reading of the contract.

         Although      K2M’s      position        contrasting      various       contract

   provisions    has    some      initial    appeal,       the   list     of   qualifying

   “affiliates” 26 referenced in some contract provisions on the one

   hand, and the list of agents, representatives, subdivisions, and

   former/successor entities that are provided in ¶ 10.1, on the other

   hand, clearly differ, which undercuts K2M’s contention that there


   26Affiliates are defined by the contract as “any present or future entity
   that directly or indirectly controls, is controlled by, or is under
   common control with another entity, and for such purpose ‘control’
   shall mean the possession, direct or indirect, of the power to direct
   or cause the direction of the management and policies of the entity,
   whether through the ownership of voting securities, by contract or
   otherwise.” ECF No. 314-1 ¶ 1.1.

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   is an internal “conflict” or ambiguity across various contract

   provisions.            It   is   true     that    a    “subsidiary”    entity    that    is

   controlled        by    the      parent    fits       within    both   the    contractual

   definition of “affiliates” and the list of “related” entities/

   agents that ¶ 10.1 indicates are bound by the contract, but some

   of the other representatives/agents do not appear to fit both

   lists, suggesting that such contractual terms/provisions serve

   different purposes.

         The Court therefore rejects K2M’s contention that rules of

   contract construction require this Court to rely on the absence of

   the word “affiliate” in a specific contract provision (¶ 5.3)

   rather than the broadly applicable and clearly worded general

   provision set forth in ¶ 10.1.                   To the contrary, a reading of the

   contract     as    a    whole     reveals    that       the    expressly     defined   term

   “affiliates” is used to refer to “affiliates” of various entities,

   to include “DePuy” and “Howmedica” who are licensees.                             ECF No.

   314-1 ¶¶ 2.2., 2.4.              Additionally, the contracting parties appear

   to have understood that the more narrow term “affiliates” was not

   defined in such a way as to cover many of the entities/agents/

   representatives listed in ¶ 10.1, as other provisions of the

   contract use the word “affiliates” immediately adjacent to a list

   of   other    individuals/entities,                   including    agents,     directors,

   employees, insurers, etc., id. ¶¶ 4.1, 4.2.                         Accordingly, K2M’s

   contention that ¶ 10.1 should not be read to extend Stryker’s

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   obligations to Stryker and its subsidiaries is rejected. The Court

   reaches such conclusion regardless of whether it applies New Jersey

   law 27 or Federal Circuit law to the interpretation of the contract’s

   terms, as ¶ 10.1 of the contract is clear and unambiguous—Stryker

   and Biedermann unequivocally agreed that their subsidiaries would

   be bound by the terms of the license agreement.                 Cf. In re County

   of   Atlantic,   230    N.J.   237,    254,     166   A.3d   1112,   1122   (2017)

   (explaining that if the contract “is clear, then it must be

   enforced as written,” and that a “reviewing court must consider

   contractual language in the context of the circumstances at the

   time of drafting” and must “apply a rational meaning in keeping

   with the expressed general purpose” (internal quotation marks

   omitted)); McAbee Const. Inc. v. United States, 97 F.3d 1431, 1435

   (Fed. Cir. 1996) (indicating that if contractual provisions “are

   clear and unambiguous, they must be given their plain and ordinary

   meaning,” and that a contract must be interpreted “in a manner

   that gives meaning to all of its provisions and makes sense”).

         Having adopted Biedermann’s plain meaning interpretation of

   the contract, and rejected K2M’s efforts to substantially limit

   the enforceability of ¶ 10.1, the remaining question is whether an

   “after-acquired”       subsidiary     is    included   within    the   contract’s

   definition of “subsidiary.”            After reviewing the arguments and



   27 The contract provides that New Jersey law controls its interpretation.
   ECF No. 314-1 ¶ 10.2.

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   case law advanced by the parties, the Court finds that it is.                     See

   In re Spring Ford Industries, No. CIV. A. 05-3788, 2006 WL 724573,

   at *3 (E.D. Pa. Mar. 21, 2006) (concluding, based on the terms of

   the contract before the court, that “the only reasonable meaning

   of the term ‘subsidiaries’ encompasses future as well as present

   subsidiaries”).        Any other interpretation, particularly within a

   broadly worded contract provision that both reaches into the past

   (“predecessor”        companies),        and    into    the   future    (“permitted

   assigns”      and    “permitted    successor       companies”),    would    not   be

   rational or in keeping with the expressed general purpose of the

   contract, which is to resolve certain patent disputes for a period

   of many years into the future.                 See Magnivision, Inc. v. Bonneau

   Co., 250 F.3d 758, 2000 WL 772323, at *10-11 (Fed. Cir. Jun. 15,

   2000) (unpublished table opinion)                 (finding that an earlier-in-

   time patent settlement agreement that expressly extended to “the

   parties herein, their officers, agents and assigns and all those

   in active concert and privity with them” was applicable to a

   subsidiary acquired “some months after the agreement” because such

   subsidiary “since its acquisition, [was] in privity” with the

   parent signatory); In re Spring Ford, 2006 WL 724573, at *4 (“[T]he

   fact   that    the    parties     used    the    same   sentence   to   bind   their

   subsidiaries and successors and assigns . . . further indicates

   the parties’ intent for the . . . [c]ontract to apply to any

   subsidiaries they might have in the future as well.”).                   As argued

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   by Biedermann, if after-acquired subsidiaries were not included,

   the contract would have little force unless it was re-executed

   every time either Biedermann or Stryker acquired or created a new

   subsidiary        (or     hired     new     agents,      representatives,        officers,

   directors, or attorneys, or even if shares were purchased by new

   “shareholders”).             ECF No. 314-1, ¶ 10.1; see In re Spring Ford,

   2006 WL 724573, at *3.                If after-acquired subsidiaries were not

   bound      by    the     contract,        Stryker      or   Biedermann       could    simply

   incorporate a “new” subsidiary and that company could then engage

   in the precise conduct barred by the parties’ contract.

         For all of these reasons, the Court finds that K2M, as a

   Stryker subsidiary, is contractually precluded from litigating the

   validity        of     the   ’820    patent,       a    promise       that   K2M’s    parent

   voluntarily agreed that it, and its subsidiaries, would honor

   during the life of the contract.                   Any other interpretation of the

   contract would empower Stryker to make an end-run around the terms

   of   the    contract         and    accomplish,        through    a    new   wholly    owned

   subsidiary being actively integrated into Stryker 28 the precise

   acts that both Stryker and its earlier-in-time subsidiaries are

   precluded       from     engaging      in    under      the   express        terms   of   the




   28As acknowledged by K2M in its briefing on another related motion, while
   K2M was a “going concern” as of the Spring of 2020, if there is an issue
   with Biedermann recovering damages from K2M, “Stryker as successor-in-
   interest will be bound by any judgment against K2M.” ECF No. 246, at 7.

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   contract. 29    Such   contract   was     entered   into   by   sophisticated

   business entities that are competitors in the same field, and was

   signed by Stryker at the conclusion of a lengthy patent dispute

   and in an effort to avoid future patent disputes.                When Stryker

   elected to acquire K2M, it did so with the knowledge of its own

   longstanding    contractual    obligations,     and   Stryker’s      and   K2M’s

   efforts,   after   acquisition,    to     jointly   develop     an   invalidity

   defense to the ’820 patent based on Stryker’s own patent cannot be

   permitted based on the clear terms of the contract. 30           Biedermann’s


   29 As noted above, Stryker’s contractual promise was not limited to an
   agreement not to challenge the validity of the listed patents through
   litigation, but was a promise not to take any steps to “challenge the
   validity or enforceability of any of the claims” of the ’820 patent. The
   record indicates, however, that Stryker itself took “steps” to further its
   “new” subsidiary’s challenge to the enforceability of the ’820 patent
   through producing Stryker documents and witnesses in an effort to utilize
   a Stryker-owned patent to challenge the validity of the ’820 favored angle
   patent. Cf. ECF No. 312, SUF ¶ 18 (asserting, as an undisputed fact, that
   Stryker voluntarily produced to K2M “numerous documents” predating the prior
   Biedermann/Stryker interference action without a subpoena and that K2M now
   relies on that information, a Stryker employee, and long-time Stryker
   consultant Dr. Carbone in support of its challenge to the ’820 patent); ECF
   No. 360, COF ¶¶ 1-6 (responding to Biedermann’s SUF but failing to contest
   the facts in SUF ¶ 18).
   30It is not lost on the Court that K2M was not yet Stryker’s subsidiary at
   the time this lawsuit was filed, and that K2M, at least for a matter of
   days, had the ability to challenge the validity of the ’820 patent.
   Specifically, the original complaint was served on November 6, 2018, ECF
   No. 9, and Stryker completed its acquisition of K2M three days later, on
   November 9, 2018. ECF No. 360 ¶¶ 5-6. Of course, no responsive pleading
   was filed during this time, with an amended complaint filed by Biedermann
   on November 23, 2018, and an “Answer and Affirmative Defenses” first filed
   by K2M on January 4, 2019. Accordingly, while K2M (and possibly Stryker)
   was aware of the ’820 infringement allegations at least three days prior to
   the completion of the acquisition, the first time that K2M advanced an
   invalidity affirmative defense through broadly referencing the invalidity
   of “[o]ne or more of the claims of the asserted patents,” ECF No. 26 ¶ 22,
   was two months after K2M was a “subsidiary” of Stryker. It would be fanciful
   to suggest that during the first three days of the lawsuit, K2M had developed
   a specific invalidity defense based on the nearly two-decade old timeline

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   summary judgment motion is therefore GRANTED with respect to the

   contractual estoppel argument regarding the ’820 patent.

                           2. Collateral Estoppel/Alter Ego

          In light the ruling immediately above, the Court does not

   take    up   Biedermann’s      alternative      arguments   on    the   issue    of

   estoppel. The Court does note, however, that it is not immediately

   clear   whether        collateral    estoppel   would    apply    (as   argued    by

   Biedermann) as it appears that Stryker elected not to directly

   contest priority in the prior federal litigation discussed in the

   parties’ briefs, Stryker Spine v. Biedermann Motech GmbH, 684 F.

   Supp. 2d 68, 78 (D.D.C. 2010), which could undercut Biedermann’s

   argument     as   to    why   such   issue    was   purportedly   “critical      and

   necessary” to the prior proceeding, cf. SecurityPoint Holdings,

   Inc. v. United States, 138 Fed. Cl. 101, 108 (2018) (finding that

   although the issue of patent ownership was alleged in a prior

   complaint by a related entity, it was “not actually litigated” in




   as to when Dr. Carbone purportedly conceived of a screw design associated
   with a patent that was assigned to Stryker many years earlier. While this
   Court has carefully contemplated the fairness of a ruling that essentially
   cuts off a K2M defense that “could have” been mounted the day that K2M was
   initially served with the original complaint, Stryker’s contract is clearly
   written, and Stryker completed its acquisition of K2M after suit was filed
   with knowledge of its prior contractual arrangement with Biedermann. This
   Court is therefore unaware of facts that could support any form of equitable
   exception that would allow K2M, as a Stryker subsidiary in the process of
   “integrating” into Stryker, to perform the precise acts that Stryker is
   contractually precluded from performing, particularly when K2M seeks to do
   so with Stryker’s assistance based on a patent priority challenge involving
   a patent held by Stryker (a challenge Stryker voluntarily elected not to
   pursue in the earlier interference action with Biedermann and thereafter
   promised never to assert during the life of the contract).

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   such prior proceeding, rendering collateral estoppel a “poor fit”

   based on the fact pattern before the court).            As to Biedermann’s

   “alter ego” or “agency” theory, such theory has some appeal upon

   initial review; however, the existence of disputed facts regarding

   the degree to which K2M is operating as an independent corporate

   entity and/or the degree to which Stryker is controlling the

   defense    of   this   case   renders    such   issue   inappropriate   for

   resolution on the summary judgment record before the Court.

             B.    The Carbone Patent is not § 102(g) Prior Art

         Biedermann’s summary judgment motion next asserts that the

   current record establishes that no reasonable juror could conclude

   that the Carbone patent discussed above is § 102(g) prior art, and

   thus, such patent cannot anticipate or render obvious claims of

   the ’820, ’194, or ’093 patents.        The Carbone patent dispute turns

   on the priority date of such patent, which is predicated on: (1) a

   dispute over the date of the “reduction to practice” (“RTP”) of

   the invention covered by the Carbone patent, see ECF No. 312, at

   23-25; ECF No. 360, at 17-21; and (2) Dr. Carbone’s “diligence” in

   working toward RTP based on either the disputed actual RTP date or

   the undisputed constructive RTP date. 31

         Briefly summarizing the relevant timeline, it is undisputed

   that a provisional patent application for the Carbone patent was



   31 At this stage, the Carbone dispute may only be relevant to the ’093
   patent, with K2M contractually precluded from challenging the priority of

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   filed in September of 2001, which constitutes the constructive RTP

   date.   However, K2M asserts that the Carbone patent benefits from

   an earlier actual RTP date of March 2001, when a prototype of such

   invention   was   purportedly   “tested.”      ECF   No.   360,   at   18-21.

   Biedermann disputes such actual RTP claim, further arguing that,

   regardless of which RTP date is used, K2M fails to establish that

   the Carbone inventors exercised the requisite degree of ongoing

   “diligence” between November 2000 when Biedermann filed a foreign

   patent application (the latest priority date for Biedermann’s

   patents) through the claimed RTP dates for the Carbone patent. 32

   ECF No. 312, at 23-25; ECF No. 391, at 10-12.

         As argued by K2M regarding the claimed actual RTP date of

   March of 2001, Federal Circuit law provides that the degree to

   which an invention requires “testing” to establish RTP turns on

   the complexity of the invention itself.        Scott v. Finney, 34 F.3d

   1058, 1062 (Fed. Cir. 1994).         Moreover, the “nature of testing

   necessary to show reduction to practice . . . depends on the

   particular facts of each case, with the court guided by a common




   the ’820 patent and Biedermann narrowing the case such that the ’194 patent
   is no longer at issue.
   32The Carbone invention was purportedly conceived prior to November of 2000,
   and potentially as early as 1999. To prevail on its priority claim, K2M
   must demonstrate that Dr. Carbone was diligently developing his invention
   during “the entire critical period, which begins just prior to the competing
   reference’s effective date and ends on the date of the invention’s reduction
   to practice.” Perfect Surgical Techniques, Inc. v. Olympus Am., Inc., 841
   F.3d 1004, 1007 (Fed. Cir. 2016).

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   sense approach in weighing the sufficiency of the testing.”            Id.

   (emphasis added).       Here, K2M has presented both testimony and

   documentary evidence indicating that pre-patent testing of the

   Carbone invention was in fact performed during the relevant time

   period, including in March of 2001, and Biedermann’s contention

   that it is “undisputed” that no testing occurred appears to be

   contradicted by K2M’s evidence.           ECF No. 360, COF ¶¶ 7-8; Scott,

   34 F.3d at 1062 (explaining that “the character of the testing

   varies with the character of the invention and the problem it

   solves,” and that in some cases, testing is sufficient even if it

   occurs “under laboratory conditions which do not duplicate all of

   the conditions of actual use”).           Although “whether an invention

   has been reduced to practice is a question of law,” 4 Annotated

   Patent Digest § 26:29 (Feb. 2021 update), resolving such question

   necessarily turns on “subsidiary factual findings,” Cooper v.

   Goldfarb, 154 F.3d 1321, 1331 (Fed. Cir. 1998). Here, the relevant

   facts regarding K2M’s March 2001 actual RTP date are disputed,

   which prevents resolution of this issue on the summary judgment

   record.

         Separate from the dispute over actual RTP, there are factual

   disputes associated with whether the Carbone inventors exercised

   the requisite degree of “diligence” during the critical period

   between   November    2000   and   September    2001   (or   alternatively,

   November 2000 and March 2001 if the claimed actual RTP date is

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   ultimately deemed valid).        As highlighted by K2M, “[w]hether an

   inventor exercised reasonable diligence in reducing its invention

   to practice is a question of fact.”                  4 Annotated Patent Digest

   § 26:52; see also Brown v. Barbacid, 436 F.3d 1376, 1379 (Fed.

   Cir. 2006) (same).       K2M has provided some evidence beyond inventor

   testimony in order to “corroborate” the claimed diligence, and

   although      such   corroborating     evidence       does   not   appear   to   be

   particularly compelling to the extent it is assessed and “weighed”

   by the Court, weighing such evidence is clearly not appropriate at

   the summary judgment stage.

         Accordingly,      notwithstanding        the    “clear   and    convincing”

   standard that K2M must ultimately satisfy in this case to defeat

   the priority of Biedermann’s patents, the Court finds that it would

   be stepping beyond its permissible role to decide this issue at

   the summary judgment stage.          This is particularly the case because

   the   proof    required   of   K2M    is     that    the   inventor   acted   with

   reasonable diligence, and the corroboration of inventor testimony

   “may be shown by a variety of activities,” to include activities

   that the inventors behind the Carbone patent purport to have taken

   in this case.        See Perfect Surgical Techs., Inc. v. Olympus Am.,

   Inc., 841 F.3d 1004, 1009 (Fed. Cir. 2016) (explaining that “[a]

   patent owner need not prove the inventor continuously exercised

   reasonable diligence throughout the critical period; it must show

   there was reasonably continuous diligence,” and based on such

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   standard, “periods of inactivity within the critical period do not

   automatically     vanquish      a    patent    owner’s   claim    of    reasonable

   diligence”); Brown, 436 F.3d at 1380 (listing various activities

   that have been accepted as reasonable diligence in prior cases);

   see also ATI Techs. ULC v. Iancu, 920 F.3d 1362, 1372 (Fed. Cir.

   2019)   (“Diligence     is   not      negated    if   the   inventor     works   on

   improvements      and   evaluates      alternatives      while    developing     an

   invention.”) (emphasis added).            For these reasons, Biedermann’s

   summary judgment motion is DENIED on this issue.

                C.   Yukon’s Infringement on the ’820 patent

         Biedermann’s      third       argument    on    summary    judgment     seeks

   judgment as a matter of law that K2M’s Yukon product infringes on

   Biedermann’s ’820 patent.            K2M disputes such claim, arguing that

   disputed facts exist as to whether K2M’s Yukon device contains a

   “first bore” and a “second bore,” or whether there is a “single

   bore” with two different openings.              ECF No. 360, at 21-23.

         Such   dispute    requires      little    discussion,      as    the   Court’s

   analysis of this dispute is virtually identical to the dispute in

   K2M’s cross-motion for summary judgment addressing the number of

   “walls” in K2M’s Cascadia placeholder device.                     In short, the

   parties’ well-argued briefs and evidence in support, to include

   conflicting expert reports, leave this Court with a clear view on

   which party has the superior position on this issue, with K2M

   appearing to face an uphill battle to establish that its Yukon

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   device has only a single “bore.”         To be clear, this Court’s Markman

   construction of “bore” does not establish that two distinct bores

   cannot lie along the same longitudinal axis, see ECF No. 391, at

   13-14, but it also does not establish that two similarly sized

   openings on opposite ends of what appears to be a largely uniformly

   sized passageway constitute two different bores.                  K2M’s expert

   raises plausible questions regarding the reliability of the manner

   in which Biedermann’s expert distinguishes between different areas

   of the interior “passageway(s)” of the Yukon device to identify

   the   purported     demarcation    between      a   first   and   second   bore.

   Therefore, just like the disputed facts relevant to distinguishing

   a multi-walled device from a single-walled or scaffold-like/porous

   device, whether a device has a single bore with two opposing

   “openings,”    or   whether   it   has    two   distinct     co-linear     bores,

   requires careful line drawing based on analyzing and weighing

   facts.

         Accordingly, as “summary judgment cannot be granted merely

   because the court believes that the movant will prevail if the

   action is tried on the merits,” Jacobs, 780 F.3d at 568, and

   because there is sufficient evidence favoring K2M to allow a

   reasonable jury, should it reject Biedermann’s expert’s view, to

   rule in K2M’s favor, this issue must be decided by the factfinder

   at trial, not by the Court on summary judgment.                   Biedermann’s

   summary judgment motion is therefore DENIED on this issue.

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                D.   Yukon’s Infringement on the ’399 patent

         Biedermann’s final summary judgment claim includes multiple

   subparts,    with    Biedermann     seeking   summary     judgment   as   to:

   (1) whether Claim 14 of the ’399 patent is infringed by K2M’s Yukon

   devices; (2) whether K2M can establish that prior art anticipates

   Claim 14 of the ’399 patent; and (3) whether K2M can establish

   that prior art renders Claim 14 obvious.

                                1. Infringement

         Biedermann’s    opening     summary   judgment    brief   asserts   that

   there is an absence of disputed fact regarding K2M’s infringement

   of Claim 14 of the ’399 patent, “which covers a pedicle screw

   system that consists of at least a first and second rod with

   different diameters that can be accommodated by the pressure

   element of the pedicle screw.”        ECF No. 312, at 26-27.      Biedermann

   asserts that K2M’s expert did not rebut this claim and that K2M

   has never alleged noninfringement of this claim as to K2M’s Yukon

   devices. Id. at 27. In its opposition brief, K2M does not directly

   refute Biedermann’s position, but instead argues that Biedermann

   is seeking “summary judgment relief that is broader than its

   infringement      allegations,”      contending    that     Biedermann      is

   improperly seeking damages for “Yukon systems sold without two

   rods of different diameters.”        ECF No. 360, at 23.

         In response, Biedermann unsurprisingly clarifies that its

   summary judgement motion does not seek relief for K2M Yukon systems

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   associated with a single rod (because such a system would obviously

   not infringe on Claim 14 of the ’399 patent).             ECF No. 391, at 15.

   Rather, Biedermann both argues and points to evidence suggesting

   that two different diameter rods are “standard items” sold with

   K2M’s   Yukon    devices.     Id.;   ECF   No.   392-3.      Biedermann   also

   highlights      that,   as   expressly     alleged   in    its   infringement

   allegations, Biedermann’s position is that K2M infringes Claim 14

   of the ’399 patent “by at least making, using, offering to sell,

   and selling” its Yukon systems with two different diameter rods. 33

   ECF No. 392-4, at 7-8 (emphasis added).               Finally, Biedermann

   appropriately notes that even if there is some dispute over which

   specific sales, or offers to sell, involved two rods, such factual

   disputes can be determined by a jury and do not prevent summary

   judgment as to liability.        ECF No. 391, at 16; see also ECF No.

   360, at 23 (acknowledging that the extent of damages “presents a

   factual issue for the jury”).

         Agreeing with Biedermann’s position on this issue, summary

   judgment is GRANTED as to liability for K2M’s infringement of Claim

   14 of the ’399 patent with respect to K2M’s Yukon system.             To the


   33The expertise demonstrated by K2M’s counsel throughout this case arguably
   casts some doubt as to the sincerity of K2M’s suggestion that Biedermann is
   improperly exceeding the scope of its infringement allegations. This Court
   hopes that the “gamesmanship” that appeared to mar the discovery process
   from both sides of the aisle has come to an end in this case, thus allowing
   the parties to approach settlement discussions with a true goal toward
   reaching a mutually acceptable agreement. Should such discussions prove
   fruitless, the Court notes in advance that it expects a trial conducted with
   adherence to the Principles of Professionalism for Virginia Lawyers.

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   extent that questions remain as to the quantum of damages based on

   the manufacture, sale, or offer to sell Yukon systems with two

   rods, such matter is reserved for the jury (assuming, of course,

   that     such      patent     survives    K2M’s   anticipation/obviousness

   challenge).

                           2. Anticipation by Prior Art

          Biedermann’s next subclaim on the ’399 patent argues that the

   three prior art references cited by K2M are insufficient as a

   matter of law to demonstrate express or inherent anticipation.

   ECF No. 312, at 27-30.            Claim 14 of the ’399 patent has two

   different requirements relevant to such issue, with such claim

   disclosing: (1) “at least a first rod and a second rod having

   different diameters and configured to be interchangeably received”

   into the bone anchoring device; and (2) that such rods, when

   clamped into the channel “by the fixation element,” have only “two

   contact lines” with the “pressure element.”             ’399 Patent, Claim

   14,    ECF   No.   14-3. 34    K2M   challenges   Biedermann’s   contention,




   34The “two contact lines” requirement, when read in context with the rest
   of Claim 14, refers to a design where the “at least” two rods will not
   contact the bottom surface of the pressure element once they are inserted,
   with the pressure element generally having a “substantially V-shaped” groove
   to receive the rods such that the rods contact the pressure element at two
   lines running along the angled sides of the pressure element. ’399 Patent
   3:6-12; 4:24-31.

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   asserting that questions of fact preclude summary judgment as to

   both express and inherent anticipation.           ECF No. 360, at 23-30.

         As explained by the Federal Circuit, “[a]nticipation requires

   that a single [prior art] reference ‘describe the claimed invention

   with sufficient precision and detail to establish that the subject

   matter existed in the prior art.’”           Wasica Fin. GmbH v. Cont’l

   Auto. Sys., Inc., 853 F.3d 1272, 1284 (Fed. Cir. 2017) (quoting

   Verve, LLC v. Crane Cams, Inc., 311 F.3d 1116, 1120 (Fed. Cir.

   2002)).   “[T]he    dispositive   question   regarding    anticipation     is

   whether one skilled in the art would reasonably understand or infer

   from the prior art reference’s teaching that every claim element

   was disclosed in that single reference.”            Dayco Prods., Inc. v.

   Total Containment, Inc., 329 F.3d 1358, 1368 (Fed. Cir. 2003)

   (internal quotation marks omitted).        “Anticipation is an issue of

   fact, and the question whether a claim limitation is inherent in

   a prior art reference is a factual issue on which evidence may be

   introduced.” In re Schreiber, 128 F.3d 1473, 1477 (Fed. Cir. 1997)

   (emphasis added) (citations omitted).        Moreover, because an issued

   patent    “is   presumed   valid,”   a    party    seeking   to   establish

   anticipation is required to prove its case by “clear and convincing

   evidence.”      Core Wireless Licensing S.A.R.L. v. LG Elecs., Inc.,

   880 F.3d 1356, 1364 (Fed. Cir. 2018).

         “To anticipate a claim, a prior art reference must disclose

   every limitation of the claimed invention, either explicitly or

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   inherently.”    Schreiber, 128 F.3d at 1477.             Express anticipation,

   as its name suggests, occurs when a single prior art reference

   “disclose[s] each and every limitation of the claimed invention.”

   Verizon Servs. Corp. v. Cox Fibernet Va., Inc., 602 F.3d 1325,

   1336–37 (Fed. Cir. 2010).           In contrast, inherent anticipation is

   established through demonstrating that “the prior art necessarily

   functions in accordance with, or includes, the [unstated] claim[]

   limitations.” Leggett & Platt, Inc. v. VUTEk, Inc., 537 F.3d 1349,

   1354 (Fed. Cir. 2008) (quoting Perricone v. Medicis Pharm. Corp.,

   432   F.3d   1368,       1376   (Fed.   Cir.   2005)).     “[I]nherency,     like

   anticipation itself, requires a determination of the meaning of

   the prior art,” and therefore may turn on evidence from “artisans

   of ordinary skill” reflecting their “understanding about subject

   matter disclosed by the prior art, including features inherent in

   the prior art.”          Schering Corp. v. Geneva Pharm., 339 F.3d 1373,

   1377 (Fed. Cir. 2003).            Importantly, the fact that a prior art

   reference    has     a    previously     “unrecognized”     feature   does   not

   preclude an alleged infringer from demonstrating that such feature

   is nevertheless inherent in the prior art.               Id. at 1377-78.

         Here, after careful review of the parties’ briefs and the

   case law cited therein, the Court finds that the conflicting expert

   opinions in this case create genuine disputes as to material facts

   regarding express and inherent anticipation.                 First, the Court

   agrees with K2M that disputed facts exist as to whether one or

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   more of the three prior art references at issue in this case

   expressly anticipate the ’399 patent.        K2M argues, as supported by

   citations to its expert’s report and other record evidence, that

   all three prior art references expressly indicate not only that

   the prior art is designed to accept multiple different sized rods,

   but that the prior art patents’ specifications, to include figures

   included therein, inform one skilled in the art that if rods of

   certain   sizes   were   used   in   pictured   embodiments,   they   would

   necessarily contact the curved or sloped base of the pressure

   element in two places without touching the bottom (as claimed in

   Claim 14 of the ’399 patent).        ECF No. 360, at 23-28; ECF No. 351-

   2, -4; ECF No. 367-4, at 381-402; ECF No. 367-5, at 426-30.

   Moreover, the prior art patent referred to as “Kim” not only

   expressly discusses an embodiment using “inclined surfaces at both

   inner sides” of the “compression bush . . . so as to be compressed

   by various sizes of a support bar,” but explains that various sizes

   of bar are accommodated “due to the fact that” the pressure member

   has sloped slides, further identifying such sloped sides as an

   “advantage” to such embodiment.        ECF No. 311-19, at 7, 12, 16-18.

   In fact, the “summary of the invention” section indicates that it

   is “an object of the present invention . . . to enable various

   sizes of support bars to be used.”         Id. at 6.

         Second, even assuming that the factfinder interprets each of

   the prior art references as failing to “expressly” anticipate Claim

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   14 of the ’399 patent, material disputes of fact clearly prevent

   a summary judgment ruling in Biedermann’s favor as to inherent

   anticipation.       See Schering, 339 F.3d at 1377 (“A prior art

   reference may anticipate without disclosing a feature of the

   claimed invention if that missing characteristic is necessarily

   present, or inherent, in the single anticipating reference.”); see

   also 3 Annotated Patent Digest § 17:67 (“To fully protect the

   public knowledge, the law of anticipation does not require that a

   prior-art    reference        explicitly       disclose     information     that   is

   inevitably    present     based     on    the        express   disclosure    of    the

   reference.”).      Such conclusion is based on Biedermann’s failure to

   establish that, after considering the prior art in conjunction

   with the evidence supplied through K2M’s expert, a reasonable

   factfinder could not conclude that “artisans of ordinary skill”

   would    interpret       the     claims        and     specification      (including

   illustrations)      of   at    least     one    of    the   identified    prior    art

   references    as   configured      to     necessarily       accept   at   least    two

   differently sized rods that do not contact the “bottom” of the

   pressure member, instead having “two lines” of contact along the

   sloped/curved inner sides.             See Prima Tek II, L.L.C. v. Polypap,

   S.A.R.L., 412 F.3d 1284, 1290 (Fed. Cir. 2005) (noting that the

   prior art reference, including “[t]he drawings” itself showed that

   the disputed “crimping” was “inherent” in the prior art, a fact

   further illustrated by expert testimony); Hayward Indus., Inc. v.

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   Pentair Water Pool & Spa, Inc., 814 F. App’x 592, 596 (Fed. Cir.

   2020) (unpublished) (explaining that the “full scope of the prior

   art    reference’s      disclosure     is    considered”       when   analyzing

   anticipation).          When   facts   and    reasonable       inferences    are

   interpreted in K2M’s favor, which is required when evaluating

   Biedermann’s summary judgment motion, it would be reasonable for

   a jury to conclude that clear and convincing evidence demonstrates

   inherency based on, among other evidence, the fact that the Kim

   prior art reference: (1) indicates that accepting multiple sized

   support bars is an “object” of the invention; (2) discusses the

   inclined   sides   of    the   compression    bush   as   an   “advantage”    of

   embodiments with that feature; (3) indicates that the inclined

   sides are what allows the pressure member to accommodate various

   sized support bars; and (4) appears to visually depict a rod

   inserted into the compression bush that, due to the angled sides,

   does not appear to contact the bottom. 35            See Finnigan Corp. v.

   Int’l Trade Comm’n, 180 F.3d 1354, 1365 (Fed. Cir. 1999) (“To serve

   as an anticipation when the reference is silent about the asserted

   inherent characteristic, such gap in the reference may be filled

   with recourse to extrinsic evidence . . . [which] must make clear

   that the missing descriptive matter is necessarily present in the


   35“Farris” and “Hoffman,” the other two prior art references discussed in
   the parties’ briefs, are also interpreted by K2M’s expert as inherently
   including the features required by Claim 14 of the ’399 patent, although
   Kim appears to most directly link the feature/benefit of the sloped sides
   to the ability to accommodate rods of more than one size.

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   thing   described    in   the    reference,       and    that    it   would    be   so

   recognized     by   persons     of    ordinary       skill.”     (emphasis    added)

   (quoting Cont’l Can Co. USA v. Monsanto Co., 948 F.2d 1264, 1268

   (Fed. Cir. 1991))).       Based on the reasonable disputes among the

   parties’ experts as to what the prior art reveals, this Court must

   allow the factfinder to weigh the evidence and determine whether

   the sloped/curved sides of the pressure members discussed and

   illustrated    in   the   relevant      prior    art     references      necessarily

   require that at least two rods, within a defined range, would fit

   into the pressure member yet would not contact the bottom, thus

   having “two contact lines” with the base of the pressure member.

   Cf. In re Johannes, 566 F. App’x 923, 926 (Fed. Cir. 2014)

   (unpublished) (finding “that sufficient evidence exists for a

   reasonable mind to conclude” that the food drying method described

   in the prior art reference at issue “would necessarily blow liquid

   off a food product” even if the prior art “did not contemplate

   using its claimed method specifically for blowing surface liquid

   off” a food product).

         Biedermann    correctly        asserts    that    inherency     “may    not   be

   established    through    probabilities         or    possibilities.”         Persion

   Pharm. LLC v. Alvogen Malta Operations Ltd., 945 F.3d 1184, 1191

   (Fed.   Cir.   2019).      However,       to    the     extent    that   Biedermann

   emphasizes certain phrasing in the prior art characterizing the

   claimed device’s ability to accept multiple sized rods as a mere

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   “capability”       of    some   embodiments   rather   than     a       “necessary”

   requirement of the prior art, the Court does not find such argument

   persuasive “as a matter of law” in light of the standard applicable

   on summary judgment. See Hewlett–Packard Co. v. Mustek Sys., Inc.,

   340 F.3d 1314, 1324 n.6 (Fed. Cir. 2003) (explaining that the

   “anticipation analysis asks solely whether the prior art reference

   discloses and enables the claimed invention, and not how the prior

   art characterizes that disclosure or whether alternatives are also

   disclosed” (citing Celeritas Techs., Ltd. v. Rockwell Int’l Corp.,

   150 F.3d 1354, 1361 (Fed. Cir. 1998))).                Because K2M’s expert

   reasonably opines that the identified prior art, either through

   illustrations       or    written   statements,     describes       a     structure

   designed to seat multiple sized rods, a range of which would not

   touch the bottom, summary judgment is not appropriate.                   As stated

   by Biedermann’s expert during his deposition, the Kim prior art

   reference “says what it says,” to include that “[i]t is possible

   to accommodate various sizes of support bars,” ECF No. 367-5, at

   430, and as interpreted by K2M’s expert, a skilled artisan would

   interpret    Kim    as    necessarily   conveying    that   some        “range”   of

   differently sized rods seated on the angled sides would not touch

   the bottom of the compression bush.           See Persion Pharm. LLC, 945

   F.3d at 1191 (explaining that while mere “possibilities” are not

   enough, “if the limitation is necessarily present, or is the

   natural result of the combination of elements explicitly disclosed

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   by the prior art,” inherency will render the claimed limitation

   obvious) (internal quotation marks omitted); Perricone, 432 F.3d

   at 1377 (“In general, a limitation or the entire invention is

   inherent and in the public domain if it is the ‘natural result

   flowing from’ the explicit disclosure of the prior art.” (quoting

   Schering, 339 F.3d at 1379)). 36       Because “the prior art at issue

   in this case shows what it shows and the jury [i]s free to draw

   whatever [reasonable] conclusions manifest[] themselves from the

   evidence [to be] presented” at trial, Bettcher Indus., Inc. v.

   Bunzl USA, Inc., 661 F.3d 629, 640 (Fed. Cir. 2011), Biedermann’s

   summary judgment motion on this issue is DENIED.

                                3. Obviousness 37

         Biedermann’s final summary judgment claim asserts that K2M

   has “waived” an obviousness challenge to the ’399 patent and


   36 It appears to the Court, based on the briefs now before it, that Claim
   14’s requirement that at least two rods of a certain undisclosed size would
   fit into the pressure member, yet not touch the bottom, may be subject to
   interpretation as only requiring that a range of rod sizes self-selected to
   fit into the pressure member without touching the bottom must, once inserted
   into the pressure member, not in fact touch the bottom. Claim 14 is thus
   at least capable of being interpreted as failing to claim a unique redesigned
   slope of the angled sides and/or shape of the depression at the bottom of
   the pressure member in order to prevent any sized rod that fits into the
   channel from contacting the bottom, but rather, may only require that by
   self-defining a “range” of rod sizes between an undisclosed “minimum” and
   an undisclosed “maximum” diameter, such rods will not contact the bottom.
   While this Court does not suggest that the proper interpretation of Claim
   14 is circular in concept or that there should be a finding of inherency,
   whether the disputed features are “necessarily present” in light of the
   inclined/curved sides described and depicted in the prior art references is
   a question for the jury.
   37Unlike anticipation, which requires an independent analysis of “a single
   prior art reference,” an obviousness inquiry jointly considers multiple
   prior art references to determine whether “a skilled artisan would have been

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   therefore “cannot avoid summary judgment of no invalidity by

   asserting it has obviousness theories for claim 14.”          ECF No. 391,

   at 19. 38    Having already denied Biedermann’s summary judgment

   motion on anticipation, the Court does not reach the procedural

   challenge to K2M’s ability to advance an obviousness claim to avoid

   summary judgment.     Such issue, which presents yet another dispute

   over adequate notification of claims/defenses, is addressed by the

   parties in cursory fashion and this Court lacks the necessary

   information to resolve such dispute.         Whether K2M can advance an

   obviousness challenge to the ’399 patent at trial remains subject

   to appropriate disposition through a pre-trial motion should the

   parties be unable to resolve this matter through discussions

   seeking to limit the number of claims and defenses to be advanced

   at trial.

                                 V. CONCLUSION

         For the reasons set forth above, each party’s cross-motion

   for summary judgment is GRANTED IN PART and DENIED IN PART.             ECF

   Nos. 290, 308.     Within one week of the entry of this Opinion and

   Order, counsel are instructed to confer regarding scheduling a

   settlement conference, and counsel should thereafter contact this


   motivated to combine the teachings of the prior art references to achieve
   the claimed invention, and that the skilled artisan would have had a
   reasonable expectation of success in doing so.” CRFD Rsch., Inc. v. Matal,
   876 F.3d 1330, 1338, 1340 (Fed. Cir. 2017).
   38 Biedermann’s opening summary judgment brief focuses on anticipation, with

   K2M raising obviousness in an abbreviated paragraph on the final page of
   its opposition brief. See ECF No. 360, at 30.

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   Court’s Magistrate Courtroom Deputies to schedule such conference

   on a date as soon as practicable.

         The Clerk is DIRECTED to send a copy of this Opinion and Order

   to all counsel of record.

         IT IS SO ORDERED.



                                                     /s/
                                                Mark S. Davis
                                      CHIEF UNITED STATES DISTRICT JUDGE
   Norfolk, Virginia
   March   25 , 2021




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